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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
In re:                                                              ) Chapter 11
J & M SALES INC., et al.,                                           ) Case No. 18-11801 (LSS)
                                   Debtors.1                        ) Jointly Administered
                                                                    )
                                                                    )
                                                                    )

           GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
 METHODOLOGY, AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
   OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        J&M Sales, Inc. and certain of its affiliates, as debtors and debtors in possession in the
 above-captioned chapter 11 cases, (the “Debtors”) have filed their respective Schedules of Assets
 and Liabilities (the “Schedules”) and Statements of Financial Affairs (the “Statements”) in the
 United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”). The
 Debtors, with the assistance of their legal and financial advisors, prepared the Schedules and
 Statements in accordance with section 521 of chapter 11 of title 11 of the United States Code
 (the “Bankruptcy Code”), Rule 1007 of the Federal Rules of Bankruptcy Procedure, and Rule
 1007-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy
 Court for the District of Delaware.

        Curt Kroll has signed each set of the Schedules and Statements. Mr. Kroll serves as the
 Chief Restructuring Officer of each of the Debtors. In reviewing and signing the Schedules and
 Statements, Mr. Kroll has necessarily relied upon the efforts, statements, and representations of
 the Debtors’ other personnel and professionals. Given the scale of the Debtors’ business and the
 number of stores covered by the Schedules and Statements, Mr. Kroll has not (and could not
 have) personally verified the accuracy of each such statement and representation, including
 statements and representations concerning amounts owed to creditors.

         In preparing the Schedules and Statements, the Debtors relied on financial data derived
 from their books and records that was available at the time of such preparation. Although the
 Debtors have made every reasonable effort to ensure the accuracy and completeness of the
 Schedules and Statements, subsequent information or discovery may result in material changes
 to the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
 avoidance of doubt, the Debtors hereby reserve their rights to amend and supplement the
 Schedules and Statements as may be necessary or appropriate.



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   Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
 are: J & M Sales Inc. (4697); National Stores, Inc. (4874); J&M Sales of Texas, LLC (5979); FP Stores, Inc. (6795);
 Southern Island Stores, LLC (8099); Southern Island Retail Stores LLC (4237); Caribbean Island Stores, LLC (9301);
 Pazzo FNB Corp. (9870); Fallas Stores Holdings, Inc. (6052); and Pazzo Management LLC (1924). Debtors’ mailing
 address is 15001 South Figueroa Street, Gardena, CA 90248.


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        The Debtors and their agents, attorneys, and financial advisors do not guarantee or
warrant the accuracy or completeness of the data that is provided herein, and shall not be liable
for any loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors
or omissions may exist. The Debtors and their agents, attorneys, and financial advisors expressly
do not undertake any obligation to update, modify, revise, or re-categorize the information
provided herein, or to notify any third party should the information be updated, modified,
revised, or re-categorized, except as required by applicable law. In no event shall the Debtors or
their officers, employees, agents, or professionals be liable to any third party for any direct,
indirect, incidental, consequential, or special damages (including, but not limited to, damages
arising from the disallowance of a potential claim against the Debtors or damages to business
reputation, lost business, or lost profits), whether foreseeable or not and however caused, even if
the Debtors or their officers, employees, agents, attorneys, or their professionals are advised of
the possibility of such damages.

                            Global Notes and Overview of Methodology

1.       Description of Cases. On August 6, 2018, (the “Petition Date”), each of the Debtors
         filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors
         are operating their businesses and managing their property as debtors in possession
         pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On August 7, 2018, an
         order was entered directing procedural consolidation and joint administration of these
         chapter 11 cases [Docket No. 73]. Notwithstanding the joint administration of the
         Debtors’ cases for procedural purposes, each Debtor has filed its own Schedules and
         Statements. The information provided herein, except as otherwise noted, is reported as of
         the Petition Date.

2.       Global Notes Control. These Global Notes pertain to and comprise an integral part of
         each of the Debtors’ Schedules and Statements and should be referenced in connection
         with any review thereof. In the event that the Schedules and Statements conflict with
         these Global Notes, these Global Notes shall control.

3.       Reservations and Limitations. Reasonable efforts have been made to prepare and file
         complete and accurate Schedules and Statements; however, as noted above, inadvertent
         errors or omissions may exist. The Debtors reserve all rights to amend and supplement
         the Schedules and Statements as may be necessary or appropriate. Nothing contained in
         the Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an
         admission of any kind with respect to these chapter 11 cases, including, but not limited
         to, any rights or claims of the Debtors against any third party or issues involving
         substantive consolidation, equitable subordination, or defenses or causes of action arising
         under the provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable
         bankruptcy or non-bankruptcy laws to recover assets or avoid transfers. Any specific
         reservation of rights contained elsewhere in the Global Notes does not limit in any
         respect the general reservation of rights contained in this paragraph.


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         a.       No Admission. Nothing contained in the Schedules and Statements is intended or
                  should be construed as an admission or stipulation of the validity of any claim
                  against the Debtors, any assertion made therein or herein, or a waiver of the
                  Debtors’ rights to dispute any claim or assert any cause of action or defense
                  against any party.

         b.       Recharacterization. Notwithstanding that the Debtors have made reasonable
                  efforts to correctly characterize, classify, categorize, or designate certain claims,
                  assets, executory contracts, unexpired leases, and other items reported in the
                  Schedules and Statements, the Debtors nonetheless may have improperly
                  characterized, classified, categorized, or designated certain items. The Debtors
                  thus reserve all rights to recharacterize, reclassify, recategorize, or redesignate
                  items reported in the Schedules and Statements at a later time as is necessary and
                  appropriate.

         c.       Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                  Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
                  “executory” or “unexpired” does not constitute an admission by the Debtors of the
                  legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
                  rights to recharacterize or reclassify such claim or contract.

         d.       Claims Description. Any failure to designate a claim on a given Debtor’s
                  Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
                  constitute an admission by the Debtor that such amount is not “disputed,”
                  “contingent,” or “unliquidated.” The Debtors reserve all rights to dispute, or
                  assert offsets or defenses to, any claim reflected on their respective Schedules and
                  Statements on any grounds, including, without limitation, liability or
                  classification, or to otherwise subsequently designate such claims as “disputed,”
                  “contingent,” or “unliquidated” or object to the extent, validity, enforceability,
                  priority, or avoidability of any claim. Moreover, listing a claim does not
                  constitute an admission of liability by the Debtor against which the claim is listed
                  or by any of the Debtors. The Debtors reserve all rights to amend their Schedules
                  and Statements as necessary and appropriate, including, but not limited to, with
                  respect to claim description and designation.

         e.       Estimates and Assumptions. The preparation of the Schedules and Statements
                  required the Debtors to make reasonable estimates and assumptions with respect
                  to the reported amounts of assets and liabilities, the amount of contingent assets
                  and contingent liabilities on the Petition Date, and the reported amounts of
                  revenues and expenses during the applicable reporting periods. Actual results
                  could differ from such estimates.

         f.       Intellectual Property Rights. Exclusion of certain intellectual property should
                  not be construed to be an admission that such intellectual property rights have
                  been abandoned, have been terminated or otherwise expired by their terms, or
                  have been assigned or otherwise transferred pursuant to a sale, acquisition, or
                  other transaction. Conversely, inclusion of certain intellectual property should not

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                  be construed to be an admission that such intellectual property rights have not
                  been abandoned, have not been terminated or otherwise expired by their terms, or
                  have not been assigned or otherwise transferred pursuant to a sale, acquisition, or
                  other transaction.

         g.       Insiders. The listing of a party as an insider for purposes of the Schedules and
                  Statements is not intended to be, nor should it be, construed as an admission of
                  any fact, right, claim, or defense, and all such rights, claims, and defenses are
                  hereby expressly reserved. Information regarding the individuals listed as
                  insiders in the Schedules and Statements has been included for informational
                  purposes only and such information may not be used for the purposes of
                  determining control of the Debtors, the extent to which any individual exercised
                  management responsibilities or functions, corporate decision-making authority
                  over the Debtors, or whether such individual could successfully argue that he or
                  she is not an insider under applicable law, including the Bankruptcy Code and
                  federal securities laws, or with respect to any theories of liability or any other
                  purpose.

                  In the circumstance where the Schedules and Statements require information
                  regarding “insiders”, the Debtors have included information with respect to the
                  individuals who the Debtors believe are included in the definition of “insider” set
                  forth in section 101(31) of the Bankruptcy Code during the relevant time periods.
                  Specifically, the Debtors have listed payment information of their Chief
                  Executive Officer, Chief Financial Officer, Directors, and former executives who
                  received payments from the Debtors within one year of the Petition Date. The
                  Debtors employ other individuals that have officer titles, but the Debtors do not
                  believe that such officers qualify as insiders within the meaning of the Bankruptcy
                  Code.

4.       Methodology.

         a.       Basis of Presentation. The Schedules and Statements do not purport to represent
                  financial statements prepared in accordance with Generally Accepted Accounting
                  Principles in the United States (“GAAP”), nor are they intended to be fully
                  reconciled to the financial statements of each Debtor. The Schedules and
                  Statements contain unaudited information that is subject to further review and
                  potential adjustment. The Schedules and Statements reflect the Debtors’
                  reasonable efforts to report the assets and liabilities of each Debtor on an
                  unconsolidated basis except as noted on the applicable Schedules/Statements or
                  herein.

         b.       Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
                  may properly be disclosed in response to multiple parts of the Statements and
                  Schedules. To the extent these disclosures would be duplicative, the Debtors have
                  determined to only list such assets, liabilities and prepetition payments once.




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         c.       Net Book Value. In certain instances, current market valuations for individual
                  items of property and other assets are neither maintained by, nor readily available
                  to, the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
                  and Statements reflect estimates of net book values as of the Petition Date.
                  Market values may vary, at some times materially, from net book values. It
                  would be prohibitively expensive, unduly burdensome, and an inefficient use of
                  estate assets for the Debtors to obtain the current market values of all their
                  property. Accordingly, the Debtors have indicated in the Schedules and
                  Statements that the values of certain assets and liabilities are undetermined.
                  Amounts ultimately realized may vary materially from net book value (or
                  whatever value was ascribed). Accordingly, the Debtors reserve all rights to
                  amend, supplement or adjust the asset values set forth herein. Also, assets that
                  have been fully depreciated or that were expensed for accounting purposes either
                  do not appear in these Schedules and Statements or are listed with a zero-dollar
                  value, as such assets have no net book value.

         d.       Property and Equipment. Unless otherwise indicated, owned property and
                  equipment are valued at net book value. The Debtors may lease furniture,
                  fixtures, and equipment from certain third-party lessors. To the extent possible,
                  any such leases are listed in the Schedules and Statements. Nothing in the
                  Schedules and Statements is, or should be construed as, an admission as to the
                  determination of the legal status of any lease (including whether any lease is a
                  true lease or a financing arrangement), and the Debtors reserve all rights with
                  respect thereto. The Debtors’ inventory is tracked by department and by store,
                  but not by both. Thus, the inventory amounts set forth in the Schedules and
                  Statements are gross inventory amounts on a Debtor by Debtor basis based upon
                  store inventory allocations as well as a consolidated detail listing of inventory by
                  department that is attached to the Schedules of all operating Debtors. Inventory is
                  counted on a staggered basis and done annually, by a third party, RGIS. The
                  Debtors have closing inventory amounts by Debtor as of July 2018. The Debtors
                  do not have amounts for prior year inventories as they calculate inventory loss as
                  opposed to inventory count and estimate the amount based on the prior year.

         e.       Consolidated Accounts Payable and Disbursements System. The Debtors use
                  a centralized cash management system to streamline collection, transfer and
                  disbursement of funds generated by the Debtors’ business operations. The cash
                  management system is operated and maintained by the Debtors’ employees.

         f.       Allocation of Liabilities. The Debtors allocated liabilities between the
                  prepetition and postpetition periods based on the information and research
                  conducted in connection with the preparation of the Schedules and Statements.
                  As additional information becomes available and further research is conducted,
                  the allocation of liabilities between the prepetition and postpetition periods may
                  change.

         g.       Undetermined Amounts. The description of an amount as “unknown” is not
                  intended to reflect upon the materiality of such amount.

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         h.       Unliquidated Amounts. Amounts that could not be fairly quantified by the
                  Debtors are scheduled as “unliquidated” or “unknown.”

         i.       Totals. All totals that are included in the Schedules and Statements represent
                  totals of all known amounts. To the extent there are unknown or undetermined
                  amounts, the actual total may be different than the listed total.

         j.       Paid Claims. The Debtors have authority to pay certain outstanding prepetition
                  payables pursuant to bankruptcy or other court order; as such, outstanding
                  liabilities may have been reduced by any court-approved postpetition payments
                  made on prepetition payables. Where and to the extent these liabilities have been
                  satisfied, they are not listed in the Schedules and Statements with the exception
                  that liabilities with respect to the Debtors’ prepetition vendors may be listed at the
                  amount outstanding as of the Petition Date, regardless of whether such claims
                  have been settled and paid postpetition in accordance with any of the “first day”
                  orders entered by the Bankruptcy Court authorizing the payment of prepetition
                  claims. To the extent the Debtors later pay any amount of the claims listed in the
                  Schedules and Statements pursuant to any orders entered by the Bankruptcy
                  Court, the Debtors reserve all rights to amend or supplement the Schedules and
                  Statements or to take other action as is necessary and appropriate to avoid
                  overpayment or duplicate payments for liabilities. Nothing contained herein
                  should be deemed to alter the rights of any party in interest to contest a payment
                  made pursuant to an order of the Bankruptcy Court where such order preserves
                  the right to contest.

         k.       Intercompany Claims. Receivables and payables among the Debtors and among
                  the Debtors and their non-Debtor affiliates are reported on Schedule A/B and
                  Schedule E/F, respectively, per the Debtors’ books and records. The listing of
                  any amounts with respect to such receivables and payables is not, and should not
                  be construed as, an admission of the characterization of such balances as debt,
                  equity, or otherwise.

         l.       Guarantees and Other Secondary Liability Claims. The Debtors have
                  exercised reasonable efforts to locate and identify guarantees in their executory
                  contracts, unexpired leases, secured financings, and other such agreements.
                  Where guarantees have been identified, they have been included in the relevant
                  Schedule G with respect to leases and Schedule D with respect to credit
                  agreements for the affected Debtor or Debtors. The Debtors may have
                  inadvertently omitted guarantees embedded in their contractual agreements and
                  may identify additional guarantees as they continue their review of their books
                  and records and contractual agreements. The Debtors reserve their rights to
                  amend the Schedules and Statements if additional guarantees are identified.

         m.       Excluded Assets and Liabilities. The Debtors have excluded the following
                  categories of assets and liabilities from the Schedules and Statements: certain
                  deferred charges, accounts, or reserves recorded only for purposes of complying
                  with the requirements of GAAP; deferred revenue accounts; and certain accrued

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                  liabilities including, but not limited to, accrued salaries and employee benefits.
                  Other immaterial assets and liabilities may also have been excluded.

         n.       Liens. The inventories, property and equipment listed in the Schedules and
                  Statements are presented without consideration of any liens.

         o.       Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

         p.       Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary
                  course of business. Such setoffs and nettings may occur due to a variety of
                  transactions or disputes including, but not limited to, intercompany transactions,
                  counterparty settlements, pricing discrepancies, rebates, returns, warranties,
                  refunds, and negotiations and/or disputes between Debtors and their customers
                  and/or suppliers. These normal, ordinary course setoffs and nettings are common
                  to the retail industry. Due to the voluminous nature of setoffs and nettings, it
                  would be unduly burdensome and costly for the Debtors to list each such
                  transaction. Therefore, although such setoffs and other similar rights may have
                  been accounted for when scheduling certain amounts, these ordinary course
                  setoffs are not independently accounted for, and as such, are or may be excluded
                  from the Debtors’ Schedules and Statements. In addition, some amounts listed in
                  the Schedules and Statements may have been affected by setoffs or nettings by
                  third parties of which the Debtors are not yet aware. The Debtors reserve all
                  rights to challenge any setoff and/or recoupment rights that may be asserted.

5.       Specific Schedules Disclosures.

         a.       Schedule A/B, Parts 1 and 2 - Cash and Cash Equivalents; Deposits and
                  Prepayments. Details with respect to the Debtors’ cash management system and
                  bank accounts are provided in the Motion of Debtors for Interim and Final Orders
                  (I) Authorizing (A) Continuation of Existing Cash Management System, (B)
                  Maintenance of Existing Business Forms and Bank Accounts, (C) Continuation of
                  Intercompany Transactions, and (D) Payment of Related Prepetition Obligations
                  Pursuant to Sections 105(a), 363(b), and 363(c) of Bankruptcy Code and
                  Bankruptcy Rules 6003 and 6004 and (II) Waiving Requirements of Section
                  345(b) of Bankruptcy Code [Docket Nos 7] (the “Cash Management Motion”) and
                  any orders of the Bankruptcy Court granting the Cash Management Motion. As
                  described therein, the Debtors utilize a centralized cash management system.

                  Additionally, the Bankruptcy Court, pursuant to the Interim Order (I) Approving
                  Debtors’ Proposed Form of Adequate Assurance Payment to Utility Companies,
                  (II) Establishing Procedures for Resolving Objections by Utility Companies, and
                  (III) Prohibiting Utility Companies From Altering, Refusing, or Discontinuing
                  Service [Docket No. 86] (the “Interim Utility Order”), has authorized the Debtors
                  to provide adequate assurance of payment for future utility services. Such
                  deposits pursuant to the Utility Order are not listed on Schedule A/B, Part 2,
                  which has been prepared as of the Petition Date. Certain utilities may hold
                  deposits separate and apart from the Interim Utility Order.


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         b.       Schedule A/B, Part 4 - Investments; Non-Publicly Traded Stock and Interests
                  in Incorporated and Unincorporated Businesses, including any Interest in an
                  LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries have
                  been listed in Schedule A/B, Part 4, as undetermined amounts on account of the
                  fact that the fair market value of such ownership is dependent on numerous
                  variables and factors, and may differ significantly from their net book value.

         c.       Schedule A/B, Part 7 - Office Furniture, Fixtures, and Equipment; and
                  Collectibles. Dollar amounts are presented net of accumulated depreciation and
                  other adjustments.

         d.       Schedule A/B, Part 11 - All Other Assets. Dollar amounts are presented net of
                  impairments and other adjustments.

                  Additionally, the Debtors may receive refunds, income tax refunds or other sales
                  tax refunds at various times throughout their fiscal year. As of the Petition Date,
                  however, certain of these amounts are unknown to the Debtors, and accordingly,
                  may not be listed in Schedule A/B.

                  Other Contingent and Unliquidated Claims or Causes of Action of Every
                  Nature, including Counterclaims of the Debtor and Rights to Setoff Claims. In
                  the ordinary course of their businesses, the Debtors may have accrued, or may
                  subsequently accrue, certain rights to counter-claims, cross-claims, setoffs, or
                  refunds with their customers and suppliers. Additionally, certain of the Debtors
                  may be party to pending litigation in which the Debtors have asserted, or may
                  assert, claims as a plaintiff or counter-claims and/or cross-claims as a defendant.
                  Because certain of these claims are unknown to the Debtors and not quantifiable
                  as of the Petition Date, they may not be listed on Schedule A/B, Part 11.

         e.       Schedule D - Creditors Who Have Claims Secured by Property. Except as
                  otherwise agreed pursuant to the Interim Order Pursuant to 11 U.S.C. §§ 105,
                  361, 362, 363, 364, and 507 (I) Granting Expedited Relief, (II) Approving
                  Postpetition Financing, (III) Granting Liens and Providing Superpriority
                  Administrative Expense Status, (IV) Authorizing Use of Cash Collateral, (V)
                  Granting Adequate Protection, (VI) Modifying Automatic Stay, and (VII)
                  Granting Related Relief [Docket No. 93], or other stipulation or order entered by
                  the Bankruptcy Court, the Debtors reserve their rights to dispute or challenge the
                  validity, perfection, or immunity from avoidance of any lien purported to be
                  granted or perfected in any specific asset to a secured creditor listed on Schedule
                  D. Moreover, although the Debtors have scheduled claims of various creditors as
                  secured claims, the Debtors reserve all rights to dispute or challenge the secured
                  nature of any such creditor’s claim or the characterization of the structure of any
                  such transaction or any document or instrument related to such creditor’s claim.

                  The descriptions provided in Schedule D are intended only to be a summary.
                  Reference to the applicable agreements and other related relevant documents is
                  necessary for a complete description of the collateral and the nature, extent, and


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                  priority of any liens. In certain instances, a Debtor may be a co-obligor, co-
                  mortgagor, or guarantor with respect to scheduled claims of other Debtors, and no
                  claim set forth on Schedule D of any Debtor is intended to acknowledge claims of
                  creditors that are otherwise satisfied or discharged by other entities.

                  The Debtors have not included on Schedule D parties that may believe their
                  claims are secured through setoff rights or inchoate statutory lien rights.
                  Although there are multiple parties that hold a portion of the debt included in the
                  secured facilities, only the administrative agents have been listed for purposes of
                  Schedule D.

         f.       Schedule E/F - Creditors Who Have Unsecured Claims.

                  Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Interim and
                  Final Orders (I) Authorizing Debtors to Pay Certain Prepetition Taxes and
                  Assessments and (II) Authorizing Financial Institutions to Honor and Process
                  Related Checks and Transfers Pursuant to Sections 105(a), 363(b), 507(a), and
                  541 of the Bankruptcy Code and Bankruptcy Rules 6003 and 6004 [Docket Nos.
                  85 and 283] (the “Taxes Order”), the Debtors have been granted the authority to
                  pay, in their discretion, certain tax liabilities that accrued prepetition.
                  Accordingly, any unsecured priority claims based upon prepetition tax accruals
                  that have been paid pursuant to the Taxes Order may still be listed in Schedule E.
                  The Debtors reserve all rights to amend or supplement the Schedules and
                  Statements or to take other action as is necessary and appropriate to avoid
                  overpayment or duplicate payments for liabilities.

                  Furthermore, pursuant to the Interim and Final Orders (I) Authorizing, But Not
                  Directing, Debtors to (A) Pay Certain Accrued Prepetition Wages, (B) Permit
                  Employees to Use Accrued Prepetition Vacation Time, (C) Pay Employees’
                  Prepetition Reimbursable Business Expenses, (D) Make Accrued Prepetition
                  Contributions to Employee Benefit Plan, and (E) Continue Employee Benefit Plan
                  Post-Petition; (II) Authorizing, But not Directing, The Release of Withheld Taxes
                  and Employee Contributions, and (III) Authorizing Related Relief [Docket Nos 80
                  and 274] (the “Wage Order”), the Debtors received interim authority to pay
                  certain prepetition obligations, including to pay employee wages and other
                  employee benefits, in the ordinary course of business. The Debtors believe that
                  any non-insider employee claims for prepetition amounts related to ongoing
                  payroll and benefits, whether allowable as a priority or nonpriority claim, have
                  been or will be satisfied, and such satisfied amounts are not listed. The amounts
                  listed on Schedule E/F Part 1 are for accrued vacation and PTO that have not been
                  paid pursuant to the Wage Order.

                  The listing of a claim on Schedule E/F, Part 1, does not constitute an admission
                  by the Debtors that such claim or any portion thereof is entitled to priority status.

                  Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
                  in Schedule E/F, Part 2, are derived from the Debtors’ books and records. The


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                  Debtors made a reasonable attempt to set forth their unsecured obligations,
                  although the actual amount of claims against the Debtors may vary from those
                  liabilities represented on Schedule E/F, Part 2. The listed liabilities may not
                  reflect the correct amount of any unsecured creditor’s allowed claims or the
                  correct amount of all unsecured claims.

                  Schedule E/F, Part 2 reflects liabilities based on the Debtors’ books and records.

                  Schedule E/F, Part 2, contains information regarding threatened or pending
                  litigation involving the Debtors. The amounts for these potential claims are listed
                  as “unknown” and are marked as contingent, unliquidated, and disputed in the
                  Schedules and Statements.

                  Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
                  to executory contracts and unexpired leases. Such prepetition amounts, however,
                  may be paid in connection with the assumption or assumption and assignment of
                  an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
                  not include claims that may arise in connection with the rejection of any
                  executory contracts and unexpired leases, if any, that may be or have been
                  rejected.

                  As of the time of filing of the Schedules and Statements, the Debtors had not
                  received all invoices for payables, expenses, and other liabilities that may have
                  accrued prior to the Petition Date. Accordingly, the information contained in
                  Schedules D and E/F may be incomplete. The Debtors reserve their rights to
                  amend Schedules D and E/F if and as they receive such invoices.

                  There are 96 legal actions to which one or more Debtors are parties. Multiple
                  Debtors are often listed as defendants to these legal actions. The Debtors have
                  included the entire list of legal actions on Schedule E/F Part 2 for each Debtor.

         g.       Schedule G - Executory Contracts and Unexpired Leases. While reasonable
                  efforts have been made to ensure the accuracy of Schedule G, inadvertent errors
                  or omissions may have occurred.

                  Listing a contract or agreement on Schedule G does not constitute an admission
                  that such contract or agreement is an executory contract or unexpired lease or that
                  such contract or agreement was in effect on the Petition Date or is valid or
                  enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
                  status, or enforceability of any contracts, agreements, or leases set forth in
                  Schedule G and to amend or supplement such Schedule as necessary. Certain of
                  the leases and contracts listed on Schedule G may contain renewal options,
                  guarantees of payment, indemnifications, options to purchase, rights of first
                  refusal and other miscellaneous rights. Such rights, powers, duties and
                  obligations are not set forth separately on Schedule G. In addition, the Debtors
                  may have entered into various other types of agreements in the ordinary course of



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                  their business, such as supplemental agreements, amendments, and letter
                  agreement, which documents may not be set forth in Schedule G.

                  Certain of the agreements listed on Schedule G may have expired or terminated
                  pursuant to their terms, but are listed on Schedule G in an abundance of caution.

                  The Debtors reserve all rights to dispute or challenge the characterization of any
                  transaction or any document or instrument related to a creditor’s claim.

                  In some cases, the same supplier or provider may appear multiple times in
                  Schedule G. Multiple listings, if any, reflect distinct agreements between the
                  applicable Debtor and such supplier or provider.

                  The listing of any contract on Schedule G does not constitute an admission by the
                  Debtors as to the validity of any such contract. The Debtors reserve the right to
                  dispute the effectiveness of any such contract listed on Schedule G or to amend
                  Schedule G at any time to remove any contract.

                  Omission of a contract or agreement from Schedule G does not constitute an
                  admission that such omitted contract or agreement is not an executory contract or
                  unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
                  any such omitted contracts or agreements are not impaired by the omission.
                  Certain Debtors are guarantors and parties to guaranty agreements regarding the
                  Debtors’ prepetition credit facility. The guaranty obligations arising under these
                  agreements are reflected on Schedule H only.

         h.       Schedule H - Co-Debtors. For purposes of Schedule H, only the agent under the
                  prepetition credit facility or counterparties that are subject to a guaranty are listed
                  as Co-Debtors on Schedule H.

6.       Specific Statements Disclosures.

         a.       Statements, Part 2, Questions 3 and 4 - Payments to Certain Creditors. Prior
                  to the Petition Date, the Debtors maintained a centralized cash management
                  system. Consequently, all payments to insiders listed in response to Question 4
                  on each of the Debtors’ Statements reflect payments made on a consolidated basis
                  pursuant to the Debtors’ cash management system described in the Cash
                  Management Motion. In addition, for the sake of completeness and out of an
                  abundance of caution, the Debtors have listed all transfers made during the 90-day
                  and 1 year period in their responses to Question3 and 4.

         b.       Statements, Part 2, Question 6 - Setoffs. For a discussion of setoffs and
                  nettings incurred by the Debtors, refer to paragraph 4(p) of these Global Notes.

         c.       Statements, Part 6, Question 11 - Payments Related to Bankruptcy. Question
                  11 on all Statements reflects payments to professionals made on a consolidated
                  basis.


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         d.       Statements, Part 13, Question 26 - Books, Records, and Financial Statements.
                  The Debtors provide certain parties, such as banks, auditors, potential investors,
                  vendors, and financial advisors, with financial statements that may not be part of a
                  public filing. The Debtors do not maintain complete lists or other records
                  tracking such disclosures. Therefore, the Debtors have not provided full lists of
                  these parties in their responses to Statement Question 26.

         e.       Statements, Part 13, Question 27 - Inventories. As noted earlier, the Debtors’
                  inventory is tracked by department and by store, but not by both. Thus, the
                  inventory amounts set forth in the Schedules and Statements are gross inventory
                  amounts on a Debtor by Debtor basis based upon store inventory allocations as
                  well as a consolidated detail listing of inventory by department that is attached to
                  the Schedules of all operating Debtors. Inventory is counted on a staggered basis
                  and done annually, by a third party, RGIS. The Debtors have closing inventory
                  amounts by Debtor as of July 2018. The Debtors do not have amounts for prior
                  year inventories as they calculate inventory loss as opposed to inventory count
                  and estimate the amount based on the prior year.

         f.       Statements, Part 13, Questions 4 and 30 - Payments, Distributions, or
                  Withdrawals Credited or Given to Insiders. Distributions by the Debtors to
                  their directors and officers are listed on the attachment to Questions 4 and 30.
                  Certain directors and executive officers of the Debtors are also directors and
                  executive officers of certain Debtor and non-Debtor affiliates. Certain of the
                  Debtors’ directors and executive officers received distributions net of tax
                  withholdings in the year preceding the Petition Date. The amounts listed under
                  Questions 4 and 30 reflect the gross amounts paid to such directors and executive
                  officers, rather than the net amounts after deducting for tax withholdings.

         g.       Statements, Part 3, Question 7 - Legal Actions. Multiple Debtors are often
                  listed as defendants to the 96 legal actions. The Debtors have attached the entire
                  list of legal actions to each Debtor.




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 Fill in this information to identify the case:

 Debtor name         Southern Island Stores LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         18-11805 (LSS)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                            $55,179,260.00
       From 2/01/2018 to Filing Date
                                                                                                Other      Gross Sales


       For prior year:                                                                          Operating a business                           $121,086,030.00
       From 2/01/2017 to 1/31/2018
                                                                                                Other      Gross Sales


       For year before that:                                                                    Operating a business                           $133,351,688.00
       From 2/01/2016 to 1/31/2017
                                                                                                Other      Gross Sales

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See SoFA Attachment 3                                                                     $4,411,521.98            Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See J & M Sales, Inc. for D&O                                                                       $0.00
               payments

       4.2.    Michael Fallas                                              05/08/18 -                       $57,500.00           Interest payments
               15001 S. Figueroa Street                                    $28,750
               Gardena, CA 90248                                           07/05/18 -
               Insider                                                     $28,570

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    See SoFa Attachment 7                                                                                                   Pending
                                                                                                                                       On appeal
                                                                                                                                       Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a

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 Debtor        Southern Island Stores LLC                                                                  Case number (if known) 18-11805 (LSS)



    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                           Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss         Value of property
       how the loss occurred                                                                                                                                lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address
       11.1.
                See J & M Sales, Inc.
                                                                                                                                                               $0.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                 Dates transfers             Total amount or
                                                                                                                       were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


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       None.
               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was               Last balance
                Address                                         account number            instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


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       None
       Depository institution name and address                       Names of anyone with                 Description of the contents           Do you still
                                                                     access to it                                                               have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents           Do you still
                                                                     access to it                                                               have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                    Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known       Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known       Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

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25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       CohnReznick LLP                                                                                                            2012 - present
                    1900 Avenue of the Stars
                    28th Floor
                    Los Angeles, CA 90067
       26a.2.       Spain, Price, Reader                                                                                                       2015 - present
                    & Thompson, P.C.
                    5300 Memorial Drive
                    Suite 940
                    Houston, TX 77007

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       John Luttrell                                                                                                              06/06/16 - 11/06/17
                    15644 Arnold Drive
                    Sonoma, CA 95476
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Randy Swanson                                                                                                              05/21/07 - present
                    4369 Vanalden Ave.
                    Tarzana, CA 91356
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.3.       Maureen Lockwood                                                                                                           07/02/12 - present
                    227 Linden Ave
                    Long Beach, CA 90802
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.4.       Jacob Kruse                                                                                                                09/12/17 - 08/03/18
                    2929 W 190th St.
                    Apt. 152
                    Redondo Beach, CA 90278
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.5.       Leonel Godoy                                                                                                               01/03/17 - present
                    3649 River Ave.
                    Long Beach, CA 90810




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 Debtor      Southern Island Stores LLC                                                                 Case number (if known) 18-11805 (LSS)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.6.       Curt Kroll                                                                                                           June 2017 - present
                    SierraConstellation Partners, LLC
                    400 S. Hope Street, #1050
                    Los Angeles, CA 90071

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       SierraConstellation Partners, LLC
                    400 S. Hope Street, #1050
                    Los Angeles, CA 90071
       26c.2.       Leonel Godoy
                    3649 River Ave.
                    Long Beach, CA 90810

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

       No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 RGIS
       .                                                                                    July 2018                $19,815,848 - cost basis

                Name and address of the person who has possession of
                inventory records
                RGIS
                2000 E. Taylor Road
                Auburn Hills, MI 48326


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael Fallas                                 15001 S. Figueroa Street                            Chief Executive Officer               98%
                                                      Gardena, CA 90248

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Illiant Fallas                                 15001 S. Figueroa Street                            Shareholder                           2%
                                                      Gardena, CA 90248



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

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       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       John Luttrell                                  15644 Arnold Drive                                  Chief Financial Officer          06/06/16 - 11/06/17
                                                      Sonoma, CA 95476


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 See J & M Sales, Inc.
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Fallas Stores Holdings, Inc.                                                                               EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Fill in this information to identify the case:

 Debtor name         Southern Island Stores LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         18-11805 (LSS)
                                                                                                                                 Check if this is an
                                                                                                                                     amended filing



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Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          September 18, 2018

                                                                        Curt Kroll
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Restructuring Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?


 No
 Yes




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In re Southern Island Stores, LLC
Case No. 18-11805
SoFA Attachment 3

Check
           Name                                           Check Date Check Amount
Number
 600119    101-115 W 116TH ST REALTY CORP                  5/16/2018   $33,207.71
 600125    101-115 W 116TH ST REALTY CORP                  6/14/2018   $32,615.21
 117627    1204 CORPORATION                                 5/8/2018   $14,583.33
 117580    1204 CORPORATION                                5/17/2018   $14,583.33
 117672    1204 CORPORATION                                 6/7/2018   $14,583.33
 117729    1204 CORPORATION                                 7/5/2018   $14,583.33
 117628    50 BROAD ST CORP                                 5/8/2018   $30,973.00
 117581    50 BROAD ST CORP                                5/17/2018   $30,973.00
 117673    50 BROAD ST CORP                                 6/7/2018   $24,166.66
 117730    50 BROAD ST CORP                                 7/5/2018   $24,166.66
 117585    AMHERST STATION LLC                              5/8/2018   $39,738.74
 117538    AMHERST STATION LLC                             5/17/2018   $39,738.74
 117632    AMHERST STATION LLC                              6/7/2018   $19,738.74
 117674    AMHERST STATION LLC                              6/7/2018   $20,000.00
 117683    AMHERST STATION LLC                              6/8/2018   $22,738.74
 117688    AMHERST STATION LLC                              7/5/2018   $22,738.74
 117586    ARIEL BELVEDERE OWNER HOLDINGS LLC               5/8/2018   $14,166.67
 117539    ARIEL BELVEDERE OWNER HOLDINGS LLC              5/17/2018   $14,166.67
 117633    ARIEL BELVEDERE OWNER HOLDINGS LLC               6/7/2018   $14,166.67
 117689    ARIEL BELVEDERE OWNER HOLDINGS LLC               7/5/2018   $14,166.67
 600120    BLDG MANAGEMENT CO INC.                         5/16/2018   $41,250.00
 600126    BLDG MANAGEMENT CO INC.                         6/14/2018   $41,250.00
 117587    BLDG-ICS OLNEY LLC                               5/8/2018   $39,813.10
 117540    BLDG-ICS OLNEY LLC                              5/17/2018   $39,813.10
 117634    BLDG-ICS OLNEY LLC                               6/7/2018   $34,987.91
 117690    BLDG-ICS OLNEY LLC                               7/5/2018   $31,250.00
 117631    BRICKTOWN SQUARE LLC                            5/21/2018   $11,756.45
 117588    BRIXMOR SPE 3 LLC                                5/8/2018   $16,666.67
 117541    BRIXMOR SPE 3 LLC                               5/17/2018   $16,666.67
 117589    CB CHICAGO PARTNERS LTD                          5/8/2018   $16,666.66
 117542    CB CHICAGO PARTNERS LTD                         5/17/2018   $16,666.66
 117635    CB CHICAGO PARTNERS LTD                          6/7/2018   $16,666.66
 117691    CB CHICAGO PARTNERS LTD                          7/5/2018   $16,666.66
 117582    CEDAR - JORDAN LANE LLC                          5/7/2018   $21,818.81
 117590    CEDAR - JORDAN LANE LLC                          5/8/2018   $19,503.74
 117543    CEDAR - JORDAN LANE LLC                         5/17/2018   $19,503.74
 117636    CEDAR - JORDAN LANE LLC                          6/7/2018   $19,503.74
 117675    CEDAR - JORDAN LANE LLC                          6/7/2018    $5,873.44
 117692    CEDAR - JORDAN LANE LLC                          7/5/2018   $23,738.56


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 117591   CEDAR KINGS LLC                           5/8/2018   $13,990.80
 117544   CEDAR KINGS LLC                          5/17/2018   $13,990.80
 117637   CEDAR KINGS LLC                           6/7/2018   $13,709.28
 117676   CEDAR KINGS LLC                           6/7/2018   $10,919.58
 117693   CEDAR KINGS LLC                           7/5/2018   $17,069.61
 117592   CHARLOTTE (ARCHDALE) LLC                  5/8/2018   $12,729.13
 117545   CHARLOTTE (ARCHDALE) LLC                 5/17/2018   $12,729.13
 117638   CHARLOTTE (ARCHDALE) LLC                  6/7/2018   $12,755.11
 117694   CHARLOTTE (ARCHDALE) LLC                  7/5/2018   $12,700.57
 117583   CONCORD BUYING GROUP INC                  5/7/2018   $18,047.04
 117593   CONCORD BUYING GROUP INC                  5/8/2018   $12,331.00
 117546   CONCORD BUYING GROUP INC                 5/17/2018   $12,331.00
 117639   CONCORD BUYING GROUP INC                  6/7/2018   $12,331.00
 117677   CONCORD BUYING GROUP INC                  6/7/2018   $18,047.04
 117695   CONCORD BUYING GROUP INC                  7/5/2018   $12,331.00
 117594   DEL LLC                                   5/8/2018   $18,867.08
 117547   DEL LLC                                  5/17/2018   $18,867.08
 117640   DEL LLC                                   6/7/2018   $14,035.17
 117696   DEL LLC                                   7/5/2018   $14,035.17
 117595   EAST FOREST PLAZA II LLC                  5/8/2018   $21,636.10
 117548   EAST FOREST PLAZA II LLC                 5/17/2018   $21,636.10
 117641   EAST FOREST PLAZA II LLC                  6/7/2018   $21,636.10
 117697   EAST FOREST PLAZA II LLC                  7/5/2018   $21,636.10
 117596   EDGEWOOD STATION LLC                      5/8/2018   $12,500.00
 117549   EDGEWOOD STATION LLC                     5/17/2018   $12,500.00
 117642   EDGEWOOD STATION LLC                      6/7/2018   $12,500.00
 117678   EDGEWOOD STATION LLC                      6/7/2018    $5,500.01
 117698   EDGEWOOD STATION LLC                      7/5/2018   $12,500.00
 600117   FORDHAM VALENTINE ASSOCIATES             5/16/2018   $75,000.00
 600123   FORDHAM VALENTINE ASSOCIATES             6/14/2018   $75,000.00
 117597   FRAYER ENTERPRISE LLC                     5/8/2018   $10,536.71
 117550   FRAYER ENTERPRISE LLC                    5/17/2018   $10,536.71
 117643   FRAYER ENTERPRISE LLC                     6/7/2018   $10,407.06
 117679   FRAYER ENTERPRISE LLC                     6/7/2018   $19,511.13
 117699   FRAYER ENTERPRISE LLC                     7/5/2018   $10,407.06
 117731   FRAYER ENTERPRISE LLC                     7/5/2018   $20,000.00
 117537   G&I IX EMPIRE DELAWARE CONSUMER           5/3/2018    $8,000.00
 117598   G&I IX EMPIRE DELAWARE CONSUMER           5/8/2018   $23,945.16
 117551   G&I IX EMPIRE DELAWARE CONSUMER          5/17/2018   $23,945.16
 117644   G&I IX EMPIRE DELAWARE CONSUMER           6/7/2018   $23,945.16
 117700   G&I IX EMPIRE DELAWARE CONSUMER           7/5/2018   $23,945.16
 117599   G&I IX EMPIRE THRUWAY PLAZA LLC           5/8/2018   $16,149.08
 117552   G&I IX EMPIRE THRUWAY PLAZA LLC          5/17/2018   $16,149.08


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 117645   G&I IX EMPIRE THRUWAY PLAZA LLC            6/7/2018   $16,202.03
 117680   G&I IX EMPIRE THRUWAY PLAZA LLC            6/7/2018   $10,274.07
 117701   G&I IX EMPIRE THRUWAY PLAZA LLC            7/5/2018   $16,330.42
 117732   G&I IX EMPIRE THRUWAY PLAZA LLC            7/5/2018   $10,000.00
 600118   GERTZ PLAZA ACQUISITION 2 LLC             5/16/2018   $66,244.64
 600124   GERTZ PLAZA ACQUISITION 2 LLC             6/14/2018   $58,639.71
 117600   HAIRSTON INVESTORES LLC                    5/8/2018   $21,833.15
 117553   HAIRSTON INVESTORES LLC                   5/17/2018   $21,833.15
 117702   HAIRSTON INVESTORES LLC                    7/5/2018    $4,810.47
 117601   HIGHLAND PLAZA IMPROVEMENTS                5/8/2018   $11,404.71
 117554   HIGHLAND PLAZA IMPROVEMENTS               5/17/2018   $11,404.71
 117646   HIGHLAND PLAZA IMPROVEMENTS                6/7/2018   $11,404.71
 117703   HIGHLAND PLAZA IMPROVEMENTS                7/5/2018   $20,154.53
 117602   IRC RETAIL CENTERS                         5/8/2018    $3,713.58
 117555   IRC RETAIL CENTERS                        5/17/2018    $3,713.58
 117647   IRC RETAIL CENTERS                         6/7/2018    $3,713.58
 117685   IRC RETAIL CENTERS                        6/19/2018   $18,047.04
 117687   IRC RETAIL CENTERS                        6/19/2018   $18,047.04
 117704   IRC RETAIL CENTERS                         7/5/2018    $3,713.58
 117603   IRONDEQUOIT TK OWNER LLC                   5/8/2018   $22,083.33
 117556   IRONDEQUOIT TK OWNER LLC                  5/17/2018   $22,083.33
 117648   IRONDEQUOIT TK OWNER LLC                   6/7/2018   $22,083.33
 117705   IRONDEQUOIT TK OWNER LLC                   7/5/2018   $22,083.33
 117604   KDI ATLANTA MALL LLC                       5/8/2018   $14,883.33
 117557   KDI ATLANTA MALL LLC                      5/17/2018   $14,883.33
 117649   KDI ATLANTA MALL LLC                       6/7/2018   $14,883.33
 117706   KDI ATLANTA MALL LLC                       7/5/2018   $14,883.33
 117605   KOP PERKINS FARM MARKETPLACE LLC           5/8/2018   $22,565.50
 117558   KOP PERKINS FARM MARKETPLACE LLC          5/17/2018   $22,565.50
 117650   KOP PERKINS FARM MARKETPLACE LLC           6/7/2018   $21,527.06
 117707   KOP PERKINS FARM MARKETPLACE LLC           7/5/2018   $21,527.06
 117733   KOP PERKINS FARM MARKETPLACE LLC           7/5/2018   $12,497.39
 117651   MADISON CENTER OWNER LLC                   6/7/2018   $27,500.00
 117708   MADISON CENTER OWNER LLC                   7/5/2018   $13,750.00
 117606   MALWAY REALTY ASSOCIATES LP                5/8/2018   $40,109.91
 117559   MALWAY REALTY ASSOCIATES LP               5/17/2018   $40,109.91
 117652   MALWAY REALTY ASSOCIATES LP                6/7/2018   $17,467.83
 117681   MALWAY REALTY ASSOCIATES LP                6/7/2018   $11,113.06
 117709   MALWAY REALTY ASSOCIATES LP                7/5/2018   $17,467.83
 117584   MERRIMAC INCOME PARTNERS LP                5/7/2018   $11,716.13
 117607   MERRIMAC INCOME PARTNERS LP                5/8/2018   $29,301.93
 117560   MERRIMAC INCOME PARTNERS LP               5/17/2018   $29,301.93
 117653   MERRIMAC INCOME PARTNERS LP                6/7/2018   $29,301.93


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 117710   MERRIMAC INCOME PARTNERS LP                 7/5/2018   $29,301.93
 117608   MICHAEL FALLAS                              5/8/2018   $28,750.00
 117561   MICHAEL FALLAS                             5/17/2018   $28,750.00
 117654   MICHAEL FALLAS                              6/7/2018   $28,750.00
 117711   MICHAEL FALLAS                              7/5/2018   $28,750.00
 117734   MID-AMERICA ASSET MANAGEMENT INC           7/16/2018   $20,154.53
 117609   NEW WESTGATE MALL LLC                       5/8/2018   $37,204.28
 117562   NEW WESTGATE MALL LLC                      5/17/2018   $37,204.28
 117655   NEW WESTGATE MALL LLC                       6/7/2018   $31,174.85
 117712   NEW WESTGATE MALL LLC                       7/5/2018   $31,614.85
 117610   NORTH & CICERO DEVELOPMENT LLC              5/8/2018   $48,379.50
 117563   NORTH & CICERO DEVELOPMENT LLC             5/17/2018   $48,379.50
 117656   NORTH & CICERO DEVELOPMENT LLC              6/7/2018   $49,144.68
 117713   NORTH & CICERO DEVELOPMENT LLC              7/5/2018   $49,144.68
 600121   NORTH RIVERSIDE PARK ASSOCIATES LLC        5/16/2018   $36,456.30
 117611   PJR PROPERTIES LLC                          5/8/2018   $17,905.54
 117564   PJR PROPERTIES LLC                         5/17/2018   $17,905.54
 117657   PJR PROPERTIES LLC                          6/7/2018   $16,435.83
 117714   PJR PROPERTIES LLC                          7/5/2018   $16,435.83
 117612   PROFESSIONAL PROPERTIES OF                  5/8/2018   $21,500.00
 117565   PROFESSIONAL PROPERTIES OF                 5/17/2018   $21,500.00
 117658   PROFESSIONAL PROPERTIES OF                  6/7/2018   $21,500.00
 117715   PROFESSIONAL PROPERTIES OF                  7/5/2018   $21,500.00
 117613   PUTNAM PLACE IMPROVEMENTS LLC               5/8/2018    $3,126.27
 117566   PUTNAM PLACE IMPROVEMENTS LLC              5/17/2018    $3,126.27
 117659   PUTNAM PLACE IMPROVEMENTS LLC               6/7/2018    $2,479.38
 117716   PUTNAM PLACE IMPROVEMENTS LLC               7/5/2018    $2,442.69
 117614   REMO TARTAGLIA ASSOCIATES                   5/8/2018   $22,857.50
 117567   REMO TARTAGLIA ASSOCIATES                  5/17/2018   $22,857.50
 117660   REMO TARTAGLIA ASSOCIATES                   6/7/2018   $22,857.50
 117717   REMO TARTAGLIA ASSOCIATES                   7/5/2018   $22,857.50
 600122   ROCKAWAY REALTY ASSOCIATES L.P.            5/16/2018   $35,741.00
 600128   ROCKAWAY REALTY ASSOCIATES L.P.            6/14/2018   $35,635.00
 117615   S&S SHOPPING CENTERS LTD                    5/8/2018   $18,750.00
 117568   S&S SHOPPING CENTERS LTD                   5/17/2018   $18,750.00
 117661   S&S SHOPPING CENTERS LTD                    6/7/2018   $18,750.00
 117718   S&S SHOPPING CENTERS LTD                    7/5/2018   $18,750.00
 117616   SHOP CITY PW/LB LLC                         5/8/2018   $14,583.34
 117569   SHOP CITY PW/LB LLC                        5/17/2018   $14,583.34
 117662   SHOP CITY PW/LB LLC                         6/7/2018   $16,666.67
 117719   SHOP CITY PW/LB LLC                         7/5/2018   $18,750.00
 117617   STOCKBRIDGE MADISON LLC                     5/8/2018   $13,750.00
 117570   STOCKBRIDGE MADISON LLC                    5/17/2018   $13,750.00


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 117618   THE STOP & SHOP SUPERMARKET CO LLC        5/8/2018      $52,836.63
 117571   THE STOP & SHOP SUPERMARKET CO LLC       5/17/2018      $52,836.63
 117663   THE STOP & SHOP SUPERMARKET CO LLC        6/7/2018      $58,985.36
 117686   THE STOP & SHOP SUPERMARKET CO LLC       6/19/2018         $270.00
 117720   THE STOP & SHOP SUPERMARKET CO LLC        7/5/2018      $58,985.36
 117619   THOR SOUTH DEKALB RETAIL LLC              5/8/2018      $20,000.00
 117572   THOR SOUTH DEKALB RETAIL LLC             5/17/2018      $20,000.00
 117664   THOR SOUTH DEKALB RETAIL LLC              6/7/2018      $20,000.00
 117684   THOR SOUTH DEKALB RETAIL LLC             6/14/2018      $20,000.00
 117721   THOR SOUTH DEKALB RETAIL LLC              7/5/2018      $20,000.00
 117620   TOWER IMPROVEMENTS LLC                    5/8/2018      $34,427.64
 117629   TOWER IMPROVEMENTS LLC                    5/8/2018      $13,221.83
 117573   TOWER IMPROVEMENTS LLC                   5/17/2018      $34,427.64
 117665   TOWER IMPROVEMENTS LLC                    6/7/2018      $13,221.83
 117722   TOWER IMPROVEMENTS LLC                    7/5/2018      $13,221.83
 117621   UTICA MZL LLC                             5/8/2018      $17,056.67
 117574   UTICA MZL LLC                            5/17/2018      $17,056.67
 117666   UTICA MZL LLC                             6/7/2018      $16,666.67
 117723   UTICA MZL LLC                             7/5/2018      $16,666.67
 117622   WASA PROPERTIES SOUTHLAKE PAVILLION       5/8/2018      $10,967.63
 117630   WASA PROPERTIES SOUTHLAKE PAVILLION       5/8/2018      $10,692.15
 117575   WASA PROPERTIES SOUTHLAKE PAVILLION      5/17/2018      $10,967.63
 117667   WASA PROPERTIES SOUTHLAKE PAVILLION       6/7/2018      $10,467.41
 117724   WASA PROPERTIES SOUTHLAKE PAVILLION       7/5/2018      $10,486.49
 117623   WESGOLD LLC                               5/8/2018      $20,833.01
 117576   WESGOLD LLC                              5/17/2018      $20,833.01
 117668   WESGOLD LLC                               6/7/2018      $20,833.01
 117725   WESGOLD LLC                               7/5/2018      $20,833.01
 117624   WESTERN LIGHTS PROPERTIES LLC             5/8/2018       $8,333.33
 117577   WESTERN LIGHTS PROPERTIES LLC            5/17/2018       $8,333.33
 117669   WESTERN LIGHTS PROPERTIES LLC             6/7/2018      $12,500.00
 117726   WESTERN LIGHTS PROPERTIES LLC             7/5/2018      $12,500.00
 117625   WHLP JANAF LLC                            5/8/2018      $23,270.03
 117578   WHLP JANAF LLC                           5/17/2018      $23,270.03
 117670   WHLP JANAF LLC                            6/7/2018      $23,270.03
 117682   WHLP JANAF LLC                            6/7/2018      $23,369.73
 117727   WHLP JANAF LLC                            7/5/2018      $23,270.03
 117626   WOOD STONE IV HOLDINGS ROTTERDAM LL       5/8/2018      $13,333.33
 117579   WOOD STONE IV HOLDINGS ROTTERDAM LL      5/17/2018      $13,333.33
 117671   WOOD STONE IV HOLDINGS ROTTERDAM LL       6/7/2018      $13,333.33
 117728   WOOD STONE IV HOLDINGS ROTTERDAM LL       7/5/2018      $13,333.33
          Total                                                $4,411,521.98




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         CASE NAME/CASE NO.                       CASE TYPE/JURISDICTION               NAMED DEFENDANT(S) RELEVANT TO NSI             PLAINTIFFS ATTORNEY            PLANTIFFS NAME        CIVIL/ARBITRATION/THREATENED                      STATUS
• Cooke v. Fallas National Stores, Inc.     • Virginia EEOC Case No: 437-2018-       • Fallas National Stores, Inc.              U.S. Equal Employment           • Donna Cooke           • Equal Employment Opportunity           Settled
• RPNA File No.: 10005.99.148               00422;                                                                               Opportunity Commission                                  Commission
                                            • Employment discrimination;                                                         Marietta Blueford
                                                                                                                                 Norfolk Local Office
                                                                                                                                 200 Granby St., Suite 739
                                                                                                                                 Norfolk, VA 23510
3 Weiii Trading Company LTD v. National Demand for Reclamation of Goods:             (1) National Stores, Inc.                   Daren Brinkman, Esq.            3 Weiii Trading Company Demand for Reclamation of Goods          Pending
Stores, Inc.                            $324,298.32;                                 (2) J&M Sales, Inc.                         Brinkman Portillo Ronk, APC     LTD
                                        $163,843.72 within 45 days of                (3) J&M Sales of Texas, LLC                 4333 Park Terrace Drive, Suite
                                        Bankruptcy                                   (4) FP Stores                               205
                                                                                     (5) Southern Island Stores                  Westlake Village, CA 91361 Tel:
                                                                                     (6) Southern Island Retail Stores           (818) 597-2992
                                                                                     (7) Caribbean Island Stores
                                                                                     (8) Pazzo FNB Corp.
                                                                                     (9) Pazzo Management
                                                                                     (10) Fallas Stores Holdings
Anthony v. Factory 2-U (Fallas Discount     CA/ No case filed.                       Factory 2 - U (Fallas Discount Stores)      Andrew Athanassious             Marvin Anthony             Threatened                            Resolved
Stores)                                     Employment discrimination                                                            The Athanassious Law Office
RPNA File No.: 10005.99.132                                                                                                      P.O. Box 1145,
                                                                                                                                 Folsom, CA 95763
                                                                                                                                 Tel: (916) 587-1457

Arkwright, LLC v. National Stores, Inc.     Lawsuit for Cost of Goods Sold; U.S. National Stores, Inc. dba Factory 2-U and       Michael B. Dublin, Esq.         Arkwright, LLC             Civil Action                          Settled
Case No. 2:18-cv-02341-PD                   District Court for the Eastern District Fallas                                       Semanoff Ormsby, Esq.
                                            on Pennsylvania                                                                      Greenberg & Torchia, LLC
                                                                                                                                 2617 Huntingdon Pike,
                                                                                                                                 Huntingdon Valley PA 19006
                                                                                                                                 Tel: (215) 887-2658
Armstrong v. Fallas Discount Stores         CA/ No case filed.                       Fallas Discount Stores                      Lawyers for Employee &          Monika Armstrong           Threatened                            N/A
RPNA File No.: 10005.99.142                 Employment discrimination                                                            Consumer Rights
                                                                                                                                 Saima Aslam
                                                                                                                                 4100 West Alameda Ave., 3rd
                                                                                                                                 Fl.
                                                                                                                                 Burbank, CA 91505
                                                                                                                                 Tel: (323) 375-5101
                                                                                                                                 Fax: (323) 306-5571
Banks, Renee v. National Stores, Inc.       Illinois Department of Human Rights National Stores, Inc.                            Jonathan DeLozano, Esq.         Renee Banks                Right to Sue Letter Dated: 06/06/18   Pending
Charge No. 2017CN0054                       Letter Re: Commence a civil action                                                   LAF Chicago
                                            within 90 days              100 West                                                 120 S. LaSalle Street,
                                            Randolph Street, James R.                                                            Suite 900
                                            Thompson Center,       Suite 10-100                                                  Chicago, IL 60603
                                            Chicago, IL 60601 (312) 814-6200

Basicline International Ltd. v. National    Demand for Reclamation of Goods: National Stores, Inc.                               Edward E, Neiger, Esq.          Basicline International,   Demand for Reclamation of Goods       Pending
Stores, Inc.                                $1,207,366.82; $492,882.40 within 45-                                                 ask LLP                        Inc.
                                            Days of bankruptcy filing                                                            151 West Madison Avenue,
                                                                                                                                 Fourth Floor,
                                                                                                                                 New York, NY 10036
                                                                                                                                 Tel: (212) 267-7342
BBC International, Inc. v. National Stores, Lawsuit file 06/20/2018                  National Stores, Inc. dba Fallas Stores     Steven L. Beiley, Esq.          BBC International, Inc.    Lawsuit - non-payment for production Pending
Inc. dba Fallas Stores       Case No.       Florida 15th Judicial Circuit in and for                                             Aaronson, Schantz, Beiley, PA
502018-CA-07756                             Palm Beach County (West Palm                                                         One Biscane Tower,
                                            Beach, FL)                                                                           34th Floor
                                            (1) Breach of Contract;                                                              2 South Biscayne Boulevard
                                            (2) Open Account;                                                                    Miami, Florida 33131
                                            (3) Account Stated;                                                                  Tel: (305) 200-5322
                                            (4) Goods Sold




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         CASE NAME/CASE NO.                         CASE TYPE/JURISDICTION           NAMED DEFENDANT(S) RELEVANT TO NSI            PLAINTIFFS ATTORNEY          PLANTIFFS NAME              CIVIL/ARBITRATION/THREATENED              STATUS
Beaulieu v. National Stores, Inc.            Illinois Case, AAA Case No. 01-18-     National Stores, Inc.                     Penelope M. Lechtenberg, Esq. Brian Beaulieu                Arbitration                       Pending
RPNA File No.: 10005.G                       0000-7733;                                                                       Lechtenberg & Associates LLC
                                             Employment discrimination;                                                       1235 N. Mulford Rd. Suite 208
                                                                                                                              Rockford, IL 61107
                                                                                                                              Tel: (779) 210-2940
                                                                                                                              Fax: (779) 210-2941




Bobens Trading Co., Inc. v. National         Collection Action for: $423,581.00     National Stores, Inc.                     Todd A. Gabor, Esq.              Bobens Trading Co., Inc.   Collection Action                 Pending
Stores, Inc.                                                                                                                  132 Spruce Street
                                                                                                                              Cedarhurst, New York 11516
                                                                                                                              Tel: (516) 295-2070
Brooklyn Cloth, LLC v. National Stores,      Demand for Reclamation of Goods        National Stores, Inc.                     Ken Rugg, CFO                    Brooklyn Cloth, LLC        Demand for Reclamation of Goods   Pending
Inc.                                         $270,430.80                                                                      Brooklyn Cloth, LLC
                                                                                                                              1385 Broadway
                                                                                                                              New York, NY 11018
Brown v. Fallas Paredes Discount Stores      CA/ No case filed.                     National Stores, Inc.                     Lawyers for Employee &           Sandra Brown               Threatened                        Pending
RPNA File No.: 10005.99.152                  Employment discrimination                                                        Consumer Rights
                                                                                                                              Elida M. Espinoza
                                                                                                                              4100 West Alameda Ave., 3rd
                                                                                                                              Fl.
                                                                                                                              Burbank, CA 91505
                                                                                                                              Tel: (323) 375-5101
                                                                                                                              Fax: (323) 306-5571
Cal/OSHA v. National Stores, Inc. Citation OSHA civil penalties $70,765.00          National Stores, Inc.                     DIR Accounting Office Accounts   Cal/OSHA                   Notice of civil penalties owed    Pending
No. 1280714                                                                                                                   Receivables - OSHA
                                                                                                                              PO Box 420603
                                                                                                                              San Francisco, CA 94142
                                                                                                                              Tel: (415) 703-4291

California Capital Insurance Co. v. Fallas   Subrogation lawsuit;            LASC (1) Fallas Store Holdings, Inc.;            Reuben Yeroushalmi, Esq.         California Capital         Civil Action                      Pending
Store Holdings, Inc., et al.  Case No.       Limited Jurisdiction                 (2) IRover, LLC;                            Yeroushalmi & Yeroushalmi        Insurance Company
18STLC05978                                                                       (3) IRover US                               Consumer Advocacy Group,
                                                                                                                              Inc.
                                                                                                                              9100 Wilshire Blvd., Ste 240W
                                                                                                                              Beverly Hills, CA 90212
                                                                                                                              Tel: (310) 623-1926

Carroll, Nadine v. Fallas Stores, et al. Case Defendant's, Cheltenham Square        (1) Fallas Stores C/O Michael Fallas;     Marks, O'Neil, O'Brien, Doherty Nadine Carroll              Civil Action                      Pending
No. 0756                               Court Mall and Sun Equity Partners' Motion   (2) Cheltenham Square Mall;               & Kelly, P.C
of Common Pleas, Philadelphia County          for Sanctions Against Co-Defendants   (3) Thor Cheltenham Mall, LP aka Thor     Benjamin Tursi, Esq.
                                              for Failure to Comply with Court      Equities aka Thor Equities, LLC;          One Penn Center, Suite 1010
                                              Order Compelling Discovery            (4) Thor GP Cheltenham Mall Corp;         1617 John F. Kennedy Blvd. PA
                                                                                    (5) Sun Equity Partners                   19103
                                                                                                                              Tel: (215) 564-6688

Castillo v. National Stores            Case ADA lawsuit Re: inaccessible website National Stores, Inc. (only 1 Defendant)     Manning Law, APC                 Rebecca Castillo           Civil Action (active)             Pending
No. KC070422                                Filed in County of Los Angeles                                                    Joseph R. Manning Jr., Esq.
                                            (Pomona)                                                                          4667 MacArthur Blvd.,
                                                                                                                              Suite 150
                                                                                                                              Newport Beach, CA 92660
                                                                                                                              Tel: (949) 200-8755




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            CASE NAME/CASE NO.                    CASE TYPE/JURISDICTION             NAMED DEFENDANT(S) RELEVANT TO NSI             PLAINTIFFS ATTORNEY            PLANTIFFS NAME            CIVIL/ARBITRATION/THREATENED                    STATUS
Coleman, Kimberly v. National Stores,       Arbitration                            (1) National Stores, Inc.;                   Gregg I. Shavitz, Esq.          Kimberly Coleman           Arbitration                           Pending
Inc., et al.                                                                       (2) Southern Island Stores, LLC              Shavitz Law Group, PA
Case No. 01-18-0002-5894                                                                                                        951 Yamato Road, Suite 285
                                                                                                                                Boca Raton, Fl 33431
                                                                                                                                 gshavitz@shavitzlaw.com

                                                                                                                                Kevin M. McGinty, Esq.
                                                                                                                                Mintz, Levin, Cohn, Ferris,
                                                                                                                                Glovsky and Popeo, PC
                                                                                                                                1 Financial Center
                                                                                                                                Boston, MA 02111
                                                                                                                                kmcginty@mintz.com
Compton Commercial Redevelopment    LASC Compton Courthouse               Action   J&M Sales, Inc.                              Gregory Koonce, Esq.            Compton Commercial         Civil Action                          Pending
Co. v. J&M Sales, Inc.         Case for eviction by landlord                                                                    Frank Law Group                 Redevelopment Co. v.
No. TC029176                                                                                                                    1517 Lincoln Way                J&M Sales, Inc.
                                                                                                                                Auburn, CA 95603
Consumer Advocacy Group (CAG) v.      Prop 65 Lawsuit Re: Newer Plastic            (1) National Stores, Inc.;                   Yeroushalmi & Yeroushalmi       Consumer Advocacy          Civil Action                          Pending
National Stores, et al.          Case Shopping Bags                                (2) FP Stores, Inc.;                         9100 Wilshire Blvd., Ste 240W   Group
No. BC709185                                                                       (3) J&M Sales, Inc.;                         Beverly Hills, CA 90212
                                                                                   (4) J and M Sales, Inc.;                     Tel: (310) 623-1926
                                                                                   (5) J&M Sales Corporation;
                                                                                   (7) Fallas Capital Holdings, LLC;
                                                                                   (8) J&M Properties, LLC;
                                                                                   (9) J&M Properties One, LLC;
                                                                                   (10) J&M Sales of Texas, LLC
ContractRecruiter.com, LLC dba The           Order for Judgment against            National Stores, Inc.                        Law Offices of Underwood &      ContractRecruiter.com,     Civil Action                          Default Judgment in favor of
Recruiting Division v. National Stores, Inc. Defendant, National Stores, Inc.                                                   Micklin, LLC                    LLC                                                              Plaintiff
Case No. ESZ-L-2951-18                       ($84,025.80)                                                                        John A. Underwood, Esq.
Superior Court of New Jersey                                                                                                    1236-J Brace Road,
                                                                                                                                Cherry Hill, NJ 08034
                                                                                                                                Tel: (856) 616-8401




CREA/PPC Long Beach Towne Center PO, LASC Long Beach Courthouse Action             FP Stores, Inc. dba Fallas                   Ernie Park, Esq.                CREA/PPC Long Beach        Civil Action                          Pending
LLP v. FP Stores, Inc.      Case No. for Damages: By former landlord for                                                        Bewley, Lasselben & Miller, LLP Towne Center PO, LLP
NC061759                             unpaid rent - pending                                                                      13215 E. Penn St., Ste. 510
                                                                                                                                Whittier, CA 90602

CSCO LLC v. National Stores, Inc. dba       Demand for return of goods totaling    National Stores, Inc. dba Fallas Paredes     Harlan L. Lazarus, Esq.       CSCO LLC                     Threatened/non-litigated              Pending
Fallas Paredes                              $296,640.00                                                                         Lazarus & Lazarusl, P.C.
                                                                                                                                240 Madison Avenue, 8th Floor
                                                                                                                                New York, NY 10016
                                                                                                                                Tel: (212) 889-7400

David & Young Group Corp v. National        Collection action that is going to     National Stores, Inc.                        Kelly Chambers, Senior     David & Young Group             Collections matter that is going to   Pending
Stores                                      litigation in the amount of $49,959.60                                              Collections specialist     Corp.                           litigation
                                                                                                                                C2C Resources
                                                                                                                                56 Perimeter Center E.
                                                                                                                                Suite 100
                                                                                                                                 Atlanta, GA 30346
                                                                                                                                Tel: (678) 495-0050 Email:
                                                                                                                                kchambers@crcresources.com

Day to Day Imports, Inc. v. National        LASC Central (Limited Civil) Action    National Stores, Inc.                        Aryeh Kaufman, Esq.             Day to Day Imports, Inc.   Civil Action                          Pending
Stores, Inc.                                for Damages - Non-payment for                                                       5482 Wilshire Blvd. #1907
Case No. 18STLC06538                        product                                                                             Los Angeles, CA 90036




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         CASE NAME/CASE NO.                       CASE TYPE/JURISDICTION             NAMED DEFENDANT(S) RELEVANT TO NSI          PLAINTIFFS ATTORNEY               PLANTIFFS NAME      CIVIL/ARBITRATION/THREATENED                   STATUS
DePedro, Veronica v. National Stores, Inc. (1) Threatened claim over vacation      (1) National Stores, Inc.;                Currently Unrepresented          Veronica DePedro       Threatened Claim                    Pending
(Fallas)                                   time;                                   (2) Fallas Paredes;                                                        6623 N. 19th Street,
                                           (2) Disability Discrimination;          (3) Fallas Discount Stores;                                                Phoenix, AZ 85022 Tel:
                                           (3) Wrongful Termination;               (4) Factory 2-U;                                                           (702) 448-1350 Email:
                                           (4) waiting time penalties              (5) Fallas and Anna's Linen's by Fallas                                    mrsdepedro1@aol.com
                                                                                                                                                              Tel: (805) 743-9700
                                                                                                                                                              214 West Maple Ave
                                                                                                                                                              Lompoc, CA 93436

Dominion Service Co of Richmond v.           Attempt to Collect a Debt ($935.25 - Southern Island Shores, LLC t/a Fallas     Edward S. Whitlock, III, Esq.    Dominion Service Co of   Attempt to Collect a Judgment     N/A
Southern Island Shores, LLC t/a Fallas       Judgment) obtained 08/15/2017 (plus                                             Lafayette, Ayers, Whitlock       Richmond
                                             Costs, Interest and Attorneys Fees -                                            Crossridge Professional Park
                                             Current balance: $1,529.62)                                                     10160 Staples Mill Road, Suite
                                                                                                                             105
                                                                                                                             Glen Allen, VA 23060
                                                                                                                             Tel: (804) 545-6529

Editex Home Curtain Corp v. Southern         Settlement Agreement                  (1) Southern Island Stores, LLC;          Frank Roberts                    Editex Home Curtain      Settlement Enforcement            Settled
Island Stores, LLC and National Stores,                                            (2) National Stores, Inc.                  C2C Resources                   Corp.
Inc.                                                                                                                         56 Perimeter Center E,
                                                                                                                             Suite 100
                                                                                                                             Atlanta, GA 30346
                                                                                                                             Tel: (678) 495-0050 ext. 349
English v. FP Stores, Inc.                   State of Southern Carolina Human      Fallas Stores                             State of Southern Carolina       Roslyn W. English        Administrative Complaint          Terminated
RPNA File No.: 10005.99.140                  Affairs Commission Case No.: 4-14-                                              Human Affairs Commission
                                             106A;                                                                           1026 Sumter Street, Suite 101
                                             EEOC Case No.: 14C-2018-00005;                                                  Post Office Box 4490
                                             Employment discrimination                                                       Columbia, South Carolina
                                                                                                                             29240

Estrada v. National Stores, Inc.      RPNA LASC Case No. BC646596; Court of        National Stores, Inc.                     Kevin A. Lipeles, Esq.           Maribel Estrada          Civil                             Pending
File No. 10005.98                          Appeal (Second Appellate District)                                                Julian Bellenghi, Esq.
                                           Case No. B286085; Employment                                                      Lipeles Law Group, APC
                                           discrimination                                                                    880 Apollo St., Suite 336
                                                                                                                             El Segundo, CA 90245
                                                                                                                             Tel: (310) 322-2211;
                                                                                                                             Fax: (310) 322-2252
Fields v. Fallas Stores                      WI Employee, no case filed;           Fallas Stores                             Randall B. Gold                  Wonder Fields            Threatened                        N/A
RPNA File No.: 10005.99.156                                                                                                  Fox & Fox, S.C.
                                                                                                                             124 West Broadway
                                                                                                                             Monona (Madison), WI 53716
                                                                                                                             Tel: (608) 258-9588
                                                                                                                             Fax: (608) 258- 9105

Four Seasons Apparel v. National Stores,     Demand for Reclamation of Goods:      National Stores, Inc.                     Ali W. Safawi, President         Four Seasons Apparel     Demand for Reclamation of Goods   Pending
Inc.                                         $605,766.00                                                                     Four Seasons Apparel
                                                                                                                             16180 Ornelas St.,
                                                                                                                             Irwindale, CA 91706
                                                                                                                             Tel: (626) 334-4446
Freight Logistics v. National Stores, Inc.   Lawsuit for shipping detention,     National Stores, Inc. aka Fallas            Jeffrey S. Goodfied, Esq.        Freight Logistics        Civil Action                      Pending
aka Fallas                                   chassis and demurrage charges; LASC                                             Goodfried Law Group, APC         International, LLC
Case No. BC678280                            Unlimited Jurisdiction                                                          6345 Balboa Blvd.,
                                                                                                                             Bldg 1, Suite 300
                                                                                                                             Encino, CA 91316
                                                                                                                             Tel: (818) 810-7500




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Galaxy Custom House Brokers, Inc. v.         Demand for Reclamation of Goods:     National Stores, Inc.                  Marcy H. Sklar               Galaxy Custom House           Demand for Reclamation of Goods   Pending
National Stores, Inc.                        $24,360.00                                                                  Galaxy Custom House Brokers, Brokers, Inc.
                                                                                                                         Inc.
                                                                                                                         153-02 Baisley Blvd.
                                                                                                                          Jamaica, NY 11434
                                                                                                                         Tel: (718) 527-0205
Galvez v. National Stores, Inc. RPNA File    United States District Court for the    National Stores, Inc.               Hillary Schwab,              Manuel Galvez                 Civil                             Pending
No. 10005.99.146                             District of Massachusetts, Case No.: Southern Island Stores, LLC            Brant Casavant
                                             18-10278;                                                                   Fair Work, P.C.
                                             Collective Action for violations of the                                     192 South Street, Suite 450
                                             Fair Labor and Standards Act;                                               Boston, MA 02111

                                                                                                                         Gregg I. Shavitz
                                                                                                                         Shavitz Law Group, P.A.
                                                                                                                         1515 S. Federal Highway, Suite
                                                                                                                         404
                                                                                                                         Boca Raton, FL 33432
                                                                                                                         Tel: (561) 447-8888

                                                                                                                         Michael J. Palitz
                                                                                                                         Shavitz Law Group, P.A.
                                                                                                                         830 3rd Ave., 5th Fl.
                                                                                                                         New York, NY 10022
                                                                                                                         Tel: (800) 616-4000
Galvez v. National Stores, Inc., et al. Case American Arbitration Association     (1) National Stores, Inc.;             Gregg I. Shavitz, Esq.            Manuel Galvez            Arbitration                       Pending
No. 01-18-0002-5925                                                               (2) Southern Island Stores, LLC        Shavitz Law Group, PA
                                                                                                                         951 Yamato Road, Suite 285
                                                                                                                         Boca Raton, Fl 33431
                                                                                                                          gshavitz@shavitzlaw.com

                                                                                                                         Kevin M. McGinty, Esq.
                                                                                                                         Mintz, Levin, Cohn, Ferris,
                                                                                                                         Glovsky and Popeo, PC
                                                                                                                         1 Financial Center
                                                                                                                         Boston, MA 02111
                                                                                                                         kmcginty@mintz.com
Garcia v. National Stores, Inc. dba Fallas   CA/ No case filed.                   National Stores, Inc. dba Fallas       Rothschild & Alwill, APC          Michael Garcia           Threatened                        Pending
RPNA File No.: 10005.99.182                  Employment hostile work                                                     27 W. Anapamu, #289
                                             environment                                                                 Santa Barbara, CA 93101
                                                                                                                         Tel: (805) 845-1190

Global Associates Company Limited v.         Demand for Reclamation of Goods:     (1) National Stores, Inc.;             Daren Brinkman, Esq.              Global Accessories       Demand for Reclamation of Goods   Pending
National Stores, Inc.                        $140,786.40                          (2) J&M Sales, Inc.;                   Brinkman Portillo Ronk, APC       Company Limited, f/dba
                                                                                  (3) J&M Sales of Texas, LLC;           4333 Park Terrace Drive, Suite    Global Accessories
                                                                                  (4) FP Stores;                         205                               Manufacturing Limited
                                                                                  (5) Southern Island Stores;            Westlake Village, CA 91361 Tel:
                                                                                  (6) Southern Island Retail Stores;     (818) 597-2992
                                                                                  (7) Caribbean Island Stores;
Gonzalez v. FP Stores, Inc.                  LASC Case No.: BC697294;             FP Stores, Inc.                        Ramin R. Younessi, Esq.         Jesus Guadalupe            Civil/Arbitration                 Pending
RPNA File No.: 10005.99.157                  Employment discrimination                                                   Law Offices of Ramin R.         Gonzalez
                                                                                                                         Younessi, APC
                                                                                                                         3435 Wilshire Blvd., Suite 2200
                                                                                                                         Los Angeles, CA 90010
                                                                                                                         Tel: (213) 480-6200
                                                                                                                         Fax: (213) 480-6201




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Hana Financial v. National Stores, Inc.   Demand for Reclamation of Goods:      National Stores, Inc.                      Kevin Thomas, First Sr. VP,       Hana Financial        Demand for Reclamation of Goods   Pending
                                          $552,855.67                                                                      Customer Credit Manager
                                                                                                                           Hana Financial
                                                                                                                           1000 Wilshire Blvd.,
                                                                                                                           20th Floor
                                                                                                                            Los Angeles, CA 90017
                                                                                                                           Tel: (213) 240-1234
HDS Trading Corp v. National Stores, Inc. Demand for Reclamation of Goods:      (1) National Stores, Inc.;                 Fred Guindi, VP                   HDS Trading Corp      Demand for Reclamation of Goods   Pending
                                          $24,360.00                            (2) dba Fallas Paredes;                    HDS Trading
                                                                                (3) Factory 2-U                            1305 Jersey Avenue,
                                                                                                                           North Brunswick, NJ 08902
                                                                                                                           Tel: (732) 418-0418
Hines, Stephanie v. National Stores, et al. American Arbitration Association    (1) National Stores, Inc.;                 Gregg I. Shavitz, Esq.            Stephanie Hines       Arbitration                       Pending
Case No. 01-18-0002-5942                    1101 Laurel Oak Road, Suite 100     (2) Southern Island Stores, LLC            Shavitz Law Group, PA
                                            Voorhees, NJ 08043                                                             951 Yamato Road, Suite 285
                                            Tel: (856) 435-6401                                                            Boca Raton, Fl 33431
                                                                                                                            gshavitz@shavitzlaw.com

                                                                                                                           Kevin M. McGinty, Esq.
                                                                                                                           Mintz, Levin, Cohn, Ferris,
                                                                                                                           Glovsky and Popeo, PC
                                                                                                                           1 Financial Center
                                                                                                                           Boston, MA 02111
                                                                                                                           kmcginty@mintz.com
Hunt, Nichole v. FP Stores, Inc.          Employment Action with Complaint FP Stores, Inc. aka Fallas-Paredes National     William S. Caldwell, APLC       Nichole Hunt            Civil Action                      Pending
Case #BC673955                            alleging:                              Discount Stores                           9891 Irvine Center Drive, Suite
                                          (1) failure to provide rest and meal                                             130
                                          periods;                                                                         Irvine, CA 92618
                                          (2) failure to timely pay wages at                                               Tel: (949) 244-2547
                                          termination (by the class);
                                          (3) failure to provide accurate wage
                                          statements (by the class);
                                          (4) failure to pay hourly overtime
                                          wages (by the class);
                                          (5) unfair competition (by the class);
                                          (6) harassment (by the class);
                                          (7) discrimination (by Hunt);
                                          (8) retaliation (by Hunt);
                                          (9) failure to prevent discrimination
                                          (by Hunt);
                                          (10) wrongful termination (by Hunt);
                                          (11) intentional infliction of
                                          emotional distress (by Hunt);
                                          (12) negligent infliction of emotional
                                          distress (by Hunt);
                                          (13) negligence


Ibarra v. National Stores, Inc.           DFEH Case No.: 973299-322813;         National Stores, Inc. dba Factory 2-U      Department of Fair                Jamie Ibarra          DFEH Complaint                    Pending
RPNA File No.: 10005.99.161               EEOC Case No.: 37A-2018-01030-C;                                                 Employment and Housing
                                          Employment discrimination;                                                       39141 Civic Center Dr., Suite
                                                                                                                           250
                                                                                                                           Fremont, CA 94538
                                                                                                                           Tel: (510) 789-1042
                                                                                                                           Fax: (888) 519-5917
Icer Basketball LLC v. National Stores, Inc. Demand for Reclamation of Goods:   National Stores, Inc.                      Ken Rugg, CFO                     Icer Basketball LLC   Demand for Reclamation of Goods   Pending
                                             $55,120.25                                                                    Brooklyn Cloth, LLC
                                                                                                                           1385 Broadway
                                                                                                                           New York, NY 11018




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Johnny Signature International Inc. v.       Demand for Reclamation of Goods:      (1) National Stores, Inc. dba Fallas Parades;   Harlan L. Lazarus, Esq.       Johnny Signature               Demand for Reclamation of goods   Pending
National Stores, Inc.                        $392,142.53                           (2) Fallas (Dayton, NJ)                         Lazarus & Lazarusl, P.C.      International Inc.
                                                                                                                                   240 Madison Avenue, 8th Floor
                                                                                                                                   New York, NY 10016
                                                                                                                                   Tel: (212) 889-7400

Johnson, John A. v. Fallas #443 and #386     Court Ordered Default Hearing         Fallas #443 and #386                            Colbert N. Coldwell, Esq.       John A. Johnson              Civil Action                      Pending
                                                                                   6351 S. Desert Blvd.                            Guevara, Baumann, Coldwell &
                                                                                   El Paso, TX 79932                               Reedman,
                                                                                                                                   Suite B201
                                                                                                                                   El Paso, TX 79902
                                                                                                                                   Tel: (915) 544-6646
Johnson, Scott v. 6300 Mack Road LLC, et Federal Court - Eastern District of       (1) 6300 Mack Road, LLC;                        Center for Disability Access    Scott Johnsom                Federal Civil Action              Pending
al.                                      California                                (2) National Stores, Inc.                       Phyl Grace, Esq.,
Case No. 2:17-CV-02475-TLN-CKD                                                                                                     Dennis Price, Esq.,
                                                                                                                                   Mary Melton, Esq.,
                                                                                                                                   PO Box 262490
                                                                                                                                   San Diego, CA 92196-2490
Jordan v. National Stores, Inc.              LASC Case No.: BC682498;              National Stores, Inc.                           Anna Salusky, Esq.              Jocelyn Jordan               Civil/Arbitration                 Pending
RPNA File No.: 10005.99.137                  AAA Case No.: 01-18-0001-3451;                                                        Shawn Pardo, Esq.
                                             Employment discrimination;                                                            Mahoney Law Group, APC
                                                                                                                                   249 East Ocean Blvd., Suite 814
                                                                                                                                   Long Beach, CA 90802
                                                                                                                                   Tel: (562) 590-5550
                                                                                                                                   Fax: (562) 590-8400

Just Retail Services, Inc. v. National       Action for damages for money owed. National Stores, Inc.                              Charles Carlson, Esq.           Just Retail Services, Inc.   Civil Action                      Pending
Stores, Inc.                                 U.S. Disrtict Court for Middle District                                               Barnett, Bolt, Kirkwood, Long &
Case No. 8-cv-827-T-26TGW                    of Florida (Tampa, FL)                                                                Koche
                                                                                                                                   601 Bayshore Blvd., Ste. 700,
                                                                                                                                   Tampa, FL 33606
Khjosaryan v. FP Stores, Inc.                Labor Commissioner, State Case No.: FP Stores, Inc.                                   California Department of        Alisa Khojasaryan            Administrative Complaint          Pending
RPNA File No.: 10005.99.185                  WC-CM-260624                                                                          Industrial Relations
                                             Wage and hour.                                                                        6150 Van Nuys Blvd., Room 206
                                                                                                                                   Van Nuys, CA 91401
                                                                                                                                   Tel: (818) 901-5315
                                                                                                                                   Fax: (818) 901-5307

Kids Cant Miss LLV v. National Stores, Inc. Demand for Reclamation of Goods:       (1) National Stores, Inc.                       Harlan L. Lazarus, Esq.       Kids Cant Miss LLC             Demand for Reclamation of Goods   Pending
                                            $166,675.80                            (2) National Stores DC                          Lazarus & Lazarusl, P.C.
                                                                                                                                   240 Madison Avenue, 8th Floor
                                                                                                                                   New York, NY 10016
                                                                                                                                   Tel: (212) 889-7400

Kidz Concepts LLC v. National Stores, Inc. Demand for Reclamation of Goods:        (1) National Stores, Inc.;                      Harlan L. Lazarus, Esq.       Kidz Concepts LLC              Demand for Reclamation of Goods   Pending
                                           $25,202.40                              (2) National Stores DC                          Lazarus & Lazarusl, P.C.
                                                                                                                                   240 Madison Avenue, 8th Floor
                                                                                                                                   New York, NY 10016
                                                                                                                                   Tel: (212) 889-7400

Kish, Denise v. Mohr Affinity, et al. Case   ADA Action                            J&M Sales, Inc. (only 1 Defendant)              Center for Disability Access     Denise Kish                 Federal Civil Action (active)     Pending
No. 5:18-CV-00256-DSF-MRWx                   Federal Court - Central District of                                                   Phyl Grace, Esq.,
                                             California                                                                            Dennis Price, Esq.,
                                                                                                                                   Mary Melton, Esq.,
                                                                                                                                   PO Box 262490
                                                                                                                                   San Diego, CA 92196-2490




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        CASE NAME/CASE NO.                        CASE TYPE/JURISDICTION           NAMED DEFENDANT(S) RELEVANT TO NSI               PLAINTIFFS ATTORNEY              PLANTIFFS NAME             CIVIL/ARBITRATION/THREATENED                 STATUS
Lakes Mall Investment, LLC v. FP Stores,     Complaint Filed: 08/03/2018      In FP Stores, Inc.                                Glenn L. Widom, P.A              FP Stores, Inc.              Civil Action                         Pending
Inc.                                         The County Court for     Broward                                                   696 NE 125 Street
                                             County, Florida       Case No.                                                     No. Miami, Florida 33161
                                             COCE-18-017847 Division: 50                                                        Tel: (305) 663-8770

Louise Paris, Ltd. & Milberg Factors, Inc.   Demand for immediate return of        National Stores, Inc.                        Barry Machowsky, Sr. VP          Louise Paris, Ltd. &         2 Letters Dated: 07/25/2018 and an   Pending
v. National Stores, Inc.                     goods totaling $648,397.92;                                                        Milberg Factors, Inc.            Milberg Factors, Inc.        updated Letter Dated: 08/06/2018
                                             $196,520.16 within 45 days of                                                       99 Park Avenue
                                             Bankruptcy filing                                                                  New York, NY 10016
                                                                                                                                Tel: (212) 697-4200
Louise Paris, Ltd. & Milberg Factors, Inc.   • LASC Case No.: BC684418;            National Stores, Inc. dba Fallas Stores      R. Duane Westrup, Esq.           3 Plaintiffs                 Civil                                Pending
v. National Stores, Inc.                     • Coordinated with Judicial Counsel                                                Alexander Farkas, Esq.           • Pamela Morales,
                                             Coordination Proceeding No. 4760;                                                  Westrup & Associates             • Madeline Clevenger,
                                             • Employment discrimination/ wage                                                  444 West Ocean Blvd., Suite      • Latoya Jones
                                             and hour violations;                                                               1614
                                                                                                                                Long Beach, CA 90802
                                                                                                                                Tel: (562) 432-2551;
                                                                                                                                Fax: (562)435-4856
Medina, Maria v. FP Stores, Inc. Case No. Employment Action with Complaint FP Stores, Inc. (only 1 defendant)                   Law Offices on Janeen Carlberg   Civil Action - State Court   Trial Date: 12/3/2018                Pending
30-20 17-00938313-CU-WT-CJC               alleging:                                                                             611 Civic Center Drive West,
                                          (1) discrimination -                                                                  Suite 250
                                          gender/pregnancy;                                                                     Santa Ana, CA 92701
                                          (2) failure to accommodate;                                                           Tel: (714) 665-1900
                                          (3) failure to engage in good faith
                                          interactive process;
                                          (4) retaliation;
                                          (5) failure to prevent harassment and
                                          discrimination;
                                          (6) unpaid compensation/failure to
                                          maintain business records;
                                          7) meal and rest break violations
                                          penalties;
                                          (8) Labor Code section 232.5
                                          (retaliation for disclosing information
                                          about working conditions);
                                          (9) Labor Code section 1102.5
                                          (retaliation for disclosing illegal and
                                          unethical conduct); and
                                          (10) wrongful termination.

Mega Club v. Caribbean Island Stores, LLC Demand for Reclamation of Goods:         Caribbean Island Stores, LLC dba Fallas      Mark Jajati, President           Mega Club                    Demand for Reclamation of Goods      Pending
dba Fallas                                $11,361.60                                                                            Mega Club
                                                                                                                                43 West 33 Street, Suite #501
                                                                                                                                New York, NY 10001
                                                                                                                                Tel: (212) 278-8210

Melvin v. National Stores, Inc.              CA/ No case filed.                    National Stores, Inc. dba Fallas Paredes     Lawyers for Employee &           Shadine Melvin               Threatened                           Pending
RPNA File No.: 10005.99.141                  Employment discrimination                                                          Consumer Rights
                                                                                                                                Vanessa Himeles
                                                                                                                                4100 West Alameda Ave., 3rd
                                                                                                                                Fl.
                                                                                                                                Burbank, CA 91505
                                                                                                                                Tel: (323) 375-5101
                                                                                                                                Fax: (323) 306-5571
Milberg Factors, Inc. (Activeapparel, Inc.) Demand for Reclamation of Goods:       National Stores, Inc.                        Barry Machowsky, Sr. VP          Milberg Factors, Inc.        Demand for Reclamation of Goods      Pending
v. National Stores, Inc.                    $7,005.25                                                                           Milberg Factors, Inc.            (Activeapparel, Inc.)
                                                                                                                                 99 Park Avenue
                                                                                                                                New York, NY 10016
                                                                                                                                Tel: (212) 697-4200




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         CASE NAME/CASE NO.                       CASE TYPE/JURISDICTION         NAMED DEFENDANT(S) RELEVANT TO NSI               PLAINTIFFS ATTORNEY              PLANTIFFS NAME          CIVIL/ARBITRATION/THREATENED                STATUS
Milberg Factors, Inc. (Beautiful Giant Inc.) Demand for Reclamation of Goods:   National Stores, Inc.                        Barry Machowsky, Sr. VP           Milberg Factors, Inc.     Demand for Reclamation of Goods     Pending
v. National Stores, Inc.                     $16,380.00                                                                      Milberg Factors, Inc.             (Beautiful Giant Inc.)
                                                                                                                             99 Park Avenue
                                                                                                                             New York, NY 10016
                                                                                                                             Tel: (212) 697-4200
Milberg Factors, Inc. (Core Classic) v.     Demand for Reclamation of Goods:    National Stores, Inc.                        Barry Machowsky, Sr. VP           Milberg Factors, Inc.     Demand for Reclamation of Goods     Pending
National Stores, Inc.                       $33,480.00                                                                       Milberg Factors, Inc.             (Core Classic)
                                                                                                                             99 Park Avenue
                                                                                                                             New York, NY 10016
                                                                                                                             Tel: (212) 697-4200
Milberg Factors, Inc. (Just One) v.         Demand for Reclamation of Goods:    National Stores, Inc.                        Barry Machowsky, Sr. VP           Milberg Factors, Inc. (Just Demand for Reclamation of Goods   Pending
National Stores, Inc.                       $22,715.86                                                                       Milberg Factors, Inc.             One)
                                                                                                                             99 Park Avenue
                                                                                                                             New York, NY 10016
                                                                                                                             Tel: (212) 697-4200


Milberg Factors, Inc. (M.I.S.S. Sportswear Demand for Reclamation of Goods:     National Stores, Inc.                        Barry Machowsky, Sr. VP           Milberg Factors, Inc.      Demand for Reclamation of Goods    Pending
Inc.)v. National Stores, Inc.              $75,510.75                                                                        Milberg Factors, Inc.             (M.I.S.S. Sportswear Inc.)
                                                                                                                              99 Park Avenue
                                                                                                                             New York, NY 10016
                                                                                                                             Tel: (212) 697-4200
Milberg Factors, Inc. (Starlight            Demand for Reclamation of Goods:    National Stores, Inc.                        Barry Machowsky, Sr. VP           Milberg Factors, Inc.     Demand for Reclamation of Goods     Pending
Accessories) v. National Stores, Inc.       $14,850.00                                                                       Milberg Factors, Inc.             (Starlight Accessories)
                                                                                                                              99 Park Avenue
                                                                                                                             New York, NY 10016
                                                                                                                             Tel: (212) 697-4200
Milberg Factors, Inc. v. National Stores,   Demand for Reclamation of Goods:    National Stores, Inc.                        Barry Machowsky, Sr. VP           Milberg Factors, Inc.     Demand for Reclamation of Goods     Pending
Inc.                                        $56,889.00                                                                       Milberg Factors, Inc.
                                                                                                                              99 Park Avenue
                                                                                                                             New York, NY 10016
                                                                                                                             Tel: (212) 697-4200
Mitchell v. National Stores, Inc.           LASC Case No.: BC711539             National Stores, Inc.,                       Steven M. Rubin, Esq.             Larry Mitchell            Civil                               Pending
RPNA File No.: 10005.99.170                 Employment discrimination           Fallas Stores Holding Inc.,                  Paymon Mondegari, Esq.
                                                                                J&M Sales Inc.                               The Rubin Law Corporation
                                                                                                                             1875 Century Park East, Suite
                                                                                                                             1230
                                                                                                                             Los Angeles, CA 90067
                                                                                                                             Tel: (310) 385-0777
                                                                                                                             Fax: (310) 288-0207
Mohadjer, Camil v. National Stores         Employment Action with Claims        Arbitration Demand made only as to National Joseph Farzam Law Firm             Camil Mohadjer            Active Arbitration/Civil Action     Pending
Arbitration AAA #:01-18-0000-7702 LASC alleging:                                Stores                              Prior    11766 Wilshire Blvd.,
Compton Case No. TC028523                  (1) age discrimination;              Complaint named:                    National Suite 280
                                           (2) harassment;                      Stores, Inc.;                         J&M    Los Angeles, CA 90025
                                           (3) retaliation;                     Sales of Texas;                           FP Tel: (310) 226-6890
                                           4) failure to prevent discrimination Stores, Inc. dba Factory 2-U, dba Fallas
                                           and harassment;                      Paredes;
                                           (5) wrongful termination;            Mark Gunn (individual)
                                           (6) intentional infliction of emotional
                                           distress; and
                                           (7) negligent infliction of emotional
                                           distress
One Step Up, Ltd. v. National Stores, Inc. Demand for Reclamation of Goods: (1) National Stores, Inc.;                   (2) Harlan L. Lazarus, Esq.       One Step Up, Ltd.             Demand for Reclamation of Goods     Pending
                                           $128,622.00                             National Stores DC                        Lazarus & Lazarusl, P.C.
                                                                                                                             240 Madison Avenue, 8th Floor
                                                                                                                             New York, NY 10016
                                                                                                                             Tel: (212) 889-7400




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         CASE NAME/CASE NO.                     CASE TYPE/JURISDICTION                  NAMED DEFENDANT(S) RELEVANT TO NSI                 PLAINTIFFS ATTORNEY               PLANTIFFS NAME           CIVIL/ARBITRATION/THREATENED             STATUS
Paralee Holmes v. National Stores, Inc.,et American Arbitration Association           (1) National Stores, Inc.; (2) Southern Island   Gregg I. Shavitz, Esq.            Paralee Holmes             Arbitration                      Pending
al Case No. 01-18-0002-5933                                                           Stores, LLC                                      Shavitz Law Group, PA
                                                                                                                                       951 Yamato Road, Suite 285
                                                                                                                                       Boca Raton, Fl 33431
                                                                                                                                        gshavitz@shavitzlaw.com

                                                                                                                                    Kevin M. McGinty, Esq.
                                                                                                                                    Mintz, Levin, Cohn, Ferris,
                                                                                                                                    Glovsky and Popeo, PC
                                                                                                                                    1 Financial Center
                                                                                                                                    Boston, MA 02111
                                                                                                                                    kmcginty@mintz.com
Peele, Delia v. National Stores, et al. Case Employment Action with Complaint         (1) National Stores, Inc.;                    Law Office of Michael L. Justice Delia Peele                    Civil Action                     Pending
No. BC706673                                 alleging:                                (2) Michael Fallas;                           Michael L. Justice, Esq.
                                             (1) sexual harassment;                   (3) Fallas Capital Holdings, LLC;             5707 Corsa Avenue,
                                             (2) wrongful termination                 (4) Fallas Management, Inc.;                  Second Floor
                                             (constructive);                          (5) J&M Sales, Inc.;                          Westlake Village, CA 91362
                                             (3) IIED;                                (6) Steven Drexler (not currently represented Tel: (818) 991-4100
                                             (4) failure to prevent discrimination;   by us)
                                             (5) sex discrimination;
                                             (6) ethnic discrimination

Perez de Cabrera, Maria v. National         LASC Central                            (1) National Stores, Inc.;                         Eli M. Kantor, Esq.               Maria Perez de Cabrera     Civil Action                     Pending
Stores, Inc.                                 Civil Action for Damages               (2) AMR Staffing, Inc.;                            9595 Wilshire Blvd., Ste. 405
Case No. BC686207                           (1) employment;                         (3) Coordinated Staff, Inc.                        Beverly Hills, CA 90212
                                            (2) failure to pay overtime;
                                            (3) wages owed;
                                            (4) disability discrimination - pending

Prop 65                                     Prop 65 Notice only, including:           N/A                                              Brodsky & Smith, LLC              Noticed by:                60 Day Notice only               N/A
60 Day Notice served by Brodsky             10/4/2017 Notice Re: Black Panda                                                           9595 Wilshire Boulevard, Suite    Precilla Balabbo
                                            Sandals                                                                                    900
                                                                                                                                       Beverly Hills, CA 90212
                                                                                                                                       Tel: (877) 534-2590
Prop 65                                     Prop 65 Notice only, including:           N/A                                              Brodsky & Smith, LLC              Noticed by: Gabriel        60 Day Notice only               N/A
60 Day Notice served by Brodsky             3/28/2018 Notice Re: Beverly Hills                                                         9595 Wilshire Boulevard, Suite    Espinosa
                                            Polo Club Sandals                                                                          900
                                                                                                                                       Beverly Hills, CA 90212
                                                                                                                                       Tel: (877) 534-2590
Prop 65 (multiple)                         Prop 65 Notices only as to multiple  N/A                                                    Yeroushalmi & Yeroushalmi         Noticed by Consumer        60 Day Notice only               N/A
60 Day Notice served by:               CAG products (dozens of Notices and                                                             9100 Wilshire Blvd., Ste 240W     Advocacy Group
with nothing more                          products all by CAG and Yeroushalmi)                                                        Beverly Hills, CA 90212
                                                                                                                                       Tel: (310) 623-1926

Prop 65 (multiple)                         Prop 65 Notice only, including:     N/A                                                     Daniel N. Greenbaum               Noticed by:        Shefa   60 Day Notice only               N/A
60 Day Notice served by:            Daniel 12/21/17 Sheer Silk Curtain 5/26/17                                                         Law Offices of Daniel N.          LMV, Inc.
Greenbaum                                  Sasha Wallets                                                                               Greenbaum
                                                                                                                                       The Hathaway Building
                                                                                                                                       7120 Hayvenhurst Ave.,
                                                                                                                                       Suite 320
                                                                                                                                       Van Nuys, CA 91496
                                                                                                                                       Tel: (818) 809-2199




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Prop 65: 60 Day Notice served by CAG       Prop 65 Notice concerning Bathroom       (1) J and M Sales Inc. dba Fallas;                Reuben Yeroushalmi, Esq.           Consumer Advocacy       60 Day Notice only                      Pending
                                           Accessories (2 Piece Bath Baskets)       (2) Factory 2U;                                   Yeroushalmi & Yeroushalmi          Group
                                           containing Bis (2-ethylhexyl)            (3) La Moda for Kids Inc.;                        Consumer Advocacy Group,
                                           phthalate ("DEHP")                       (4) National Stores, Inc. dba Fallas Paredes;     Inc.
                                                                                    (5) Factory 2-U Stores, Inc.;
                                                                                    (6) Factory 2 U;
                                                                                     (7) Anna's Linen's by Fallas;
                                                                                     (8) M M & J Ventures;
                                                                                    (9) Michael/Moses/Joseph Fallas;
                                                                                    (10) J&M Sales Corporation; and
                                                                                     (11) Fallas Discount Stores #461

Prop 65: 60 Day Notice served by CAG       Prop 65 Notice concerning Footwear (1) J and M Sales Inc. dba Fallas;                      Reuben Yeroushalmi, Esq.           Consumer Advocacy       60 Day Notice only                      Pending
                                           (Black Plastic flip flops with flower  (2) Factory 2U;                                     Yeroushalmi & Yeroushalmi          Group
                                           decoration) Containing Di-n-Butyl     (3) La Moda for Kids Inc.;                           Consumer Advocacy Group,
                                           Phthalate ("DBP")                     (4) National Stores, Inc. dba Fallas Paredes;        Inc.
                                                                                 (5) Factory 2-U Stores, Inc.;
                                                                                 (6) Factory 2 U;
                                                                                 (7) Anna's Linen's by Fallas;
                                                                                 (8) M M & J Ventures;
                                                                                 (9) Michael/Moses/Joseph Fallas;
                                                                                 (10) J&M Sales Corporation; and
                                                                                 (11) Fallas Discount Stores #461

Prop 65: 60 Day Notice served by CAG       Prop 65 Notice concerning Footwear       (1) J and M Sales Inc. dba Fallas;                Reuben Yeroushalmi, Esq.           Consumer Advocacy       60 Day Notice only                      Pending
                                           (Pink Plastic Sandals with wide strap)    (2) Factory 2U;                                  Yeroushalmi & Yeroushalmi          Group
                                           Containing Di Isononyl Phthalate         (3) La Moda for Kids Inc.;                        Consumer Advocacy Group,
                                           ("DINP")                                 (4) National Stores, Inc. dba Fallas Paredes;     Inc.
                                                                                    (5) Factory 2-U Stores, Inc.;
                                                                                    (6) Factory 2 U;
                                                                                    (7) Anna's Linen's by Fallas;
                                                                                    (8) M M & J Ventures;
                                                                                    (9) Michael/Moses/Joseph Fallas;
                                                                                    (10) J&M Sales Corporation; and
                                                                                    (11) Fallas Discount Stores #461

Prop 65: 60 Day Notice served by CAG       Prop 65 Notice concerning Footwear (1) J and M Sales Inc. dba Fallas;                      Reuben Yeroushalmi, Esq.           Consumer Advocacy       60 Day Notice only                      Pending
                                           (flip flops) Containing Di-n-Butyl  (2) Factory 2U;                                        Yeroushalmi & Yeroushalmi          Group
                                           Phthalate ("DBP")                  (3) La Moda for Kids Inc.;                              Consumer Advocacy Group,
                                                                              (4) National Stores, Inc. dba Fallas Paredes;           Inc.
                                                                              (5) Factory 2-U Stores, Inc.;                           9100 Wilshire Blvd., Ste 240W
                                                                              (6) Factory 2 U;                                        Beverly Hills, CA 90212
                                                                              (7) Anna's Linen's by Fallas;                           Tel: (310) 623-1926
                                                                              (8) M M & J Ventures;
                                                                              (9) Michael/Moses/Joseph Fallas;
                                                                              (10) J&M Sales Corporation; and
                                                                              (11) Fallas Discount Stores #461

Riquiac v. National Stores, Inc., et al.   Class Action/PAGA; Los Angeles           National Stores, Inc.;                            Larry W. Lee                       Josefa Riquiac          Civil Action                            Pending
17CV000566                                 Superior Court (for coordinated          FP Stores, Inc.                                   Nick Rosenthal
                                           proceeding); originally filed in                                                           Diversity Law Group, PC
                                           Monterey County                                                                            515 S. Figueroa St., Ste. 1250
                                                                                                                                      Los Angeles, CA 90071
Safeway lease/tenant dispute - not active tenant/lease dispute with lessor and N/A                                                    Aimee Wong, Esq.                   Dispute with Landlord   Multiple failure to pay rent notices      N/A
litigation                                owner                                                                                       Udell Wang, LLP                    Safeway, Inc.           including to the following entities: (1)
                                                                                                                                      445 S. Figueroa Street,                                    J&M Sales, Inc.;                      (2)
                                                                                                                                      Suite 2250                                                 National Stores, Inc.;              (3)
                                                                                                                                       Los Angeles, CA 90071                                     J&M Sales of Texas, LLC;            (4)
                                                                                                                                      Tel: (213) 988-7496                                        Tag/the Apparel Group of New York,
                                                                                                                                                                                                 Inc. dba Factory 2U




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Seven Apparel Group v. National Stores,       Demand for Reclamation of Goods:      (1) National Stores, Inc.;                     Harlan L. Lazarus, Esq.       Seven Apparel Group            Demand for Reclamation of Goods   Pending
Inc.                                          $2,541,886.40                         (2) National Stores DC                         Lazarus & Lazarusl, P.C.
                                                                                                                                   240 Madison Avenue, 8th Floor
                                                                                                                                   New York, NY 10016
                                                                                                                                   Tel: (212) 889-7400

Shason, Inc. v. National Stores, Inc.         Copyright Infringement Claim; No      Fallas Discount Stores by National Stores, Inc. Resch, Polster & Berger, LLP     Shason, Inc.               Threatened                        Pending
                                              lawsuit filed yet                                                                     1840 Century Park East,
                                                                                                                                    17th Floor
                                                                                                                                    Los Angeles, CA 90067
                                                                                                                                    Tel: (310) 277-8300




Shefa LMV, Inc. v. Iwoeld Global Trading, Prop 65 Lawsuit Re: Earbuds and           (1) National Stores, Inc.                      Daniel N. Greenbaum           Shefa LMV, Inc.                Civil Action                      Pending
LLC, National Stores, Fallas Management Sandals/Shoes                               (2) Fallas Management, Inc.                    Law Offices of Daniel N.
Case No. BC702616                                                                                                                  Greenbaum
                                                                                                                                   The Hathaway Building
                                                                                                                                   7120 Hayvenhurst Ave.,
                                                                                                                                   Suite 320
                                                                                                                                   Van Nuys, CA 91496
                                                                                                                                   Tel: (818) 809-2199
Smith, Tony v. Fallas Stores/J&M Stores       Demand for reimbursement of           (1) Fallas Stores;                             Parker Stanbury, LP           Tony Smith                     Non-litigated/Demand              Pending
                                              reasonable expenses for moving &      (2) J&M Stores                                 444 South Flower Street, 19th
                                              storage fees for inventory while                                                     Floor
                                              preparing to open                                                                    Los Angeles, CA 90071

Sneede v. National Stores, Inc. dba Fallas Labor Commissioner, State Case No.: National Stores, Inc.                               Brodsky & Smith, LLC              Demisha Sneede             Administrative Complaint          Pending
Discount Store                             WC-CM-365998                                                                            9595 Wilshire Boulevard, Suite
RPNA File No.: 10005.99.181                Wage and hour.                                                                          900
                                                                                                                                    Beverly Hills, CA 90212
                                                                                                                                   Tel: (877) 534-2590
Star Fabrics, Inc. v. National Stores, Inc.   Copyright Infringement lawsuit;       (1) National Stores, Inc.;                     Stephen M. Doniger, Esq.          Star Fabrics, Inc.         Civil Action                      Pending
Case No. 2:18-cv-06174-CAS-SK                 U.S.D.C for the Central District of   (2) Hot Ginger, Inc.;                          Scott A. Burroughs, Esq.
                                              California                            (3) Fallas Stores Holdings, Inc.               Howard S. Han, Esq.
                                                                                                                                   Doniger Burroughs
                                                                                                                                   603 Rose Avenue
                                                                                                                                   Venice, CA 90291
                                                                                                                                   Tel: (310) 590-1820
Starboard Lemon Grove MT, LLC v. FP           Complaint Filed: 04/26/18       San FP Stores, Inc., dba Factory 2U                  Robert C. Thorn, Esq.             Starboard Lemon Grove      Civil Action                      Pending
Stores, Inc. dba Factory 2U                   Diego County Superior Court Case                                                     Kimball, Tirey & St. John LLP     MT, LLC
                                              No. 37-2018-00036557-CU-UD-CTL                                                       7676 Hazard Center Drive, Ste.
                                                                                                                                   900B,
                                                                                                                                   San Diego, CA 92108
                                                                                                                                   Tel: (619) 231-1422
Sunbelt Rentals, Inc., et al. v. National     Complaint alleges:                    National Stores, Inc.                          Cannon Law Group                  Sunbelt Rentals, Inc.      Civil Action                      Pending
Stores, Inc.                                  (1) Breach of Contract;                                                              Cole S. Cannon, Esq.              successor in interest to
Case No. TC029142                             (2) Promissory Estoppel;                                                             53 S. 600 E.                      Topp Construction
LASC Compton Courthouse                       (3) Quasi-Contract;                                                                  Salt Lake City, UT 84102          Services, Inc.
                                              (4) Open Book Account                                                                Tel: (801) 363-2999
Sylvester, Daniel v. Fallas Parades Case      Premises Liability: $15k +            Fallas Parades #2 & 3; J&M Sales, Inc.         Eric R. Blank, Esq.,              Daniel Sylvester           Civil Action                      Pending
No. A-18-776955-C              District                                                                                            David J. Martin, Esq.
Court                           Clark                                                                                              Law Offices of Eric R. Blank,
County, Nevada                                                                                                                     P.C.
                                                                                                                                   7860 W. Sahara Ave., Ste: 110,
                                                                                                                                   Las Vegas, NV 89117
                                                                                                                                   Tel: (702) 222-2115




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The TJX Companies, Inc. v. National    Demand for Rent: $22,857.49        (1) National Stores, Inc.;                    David A. Hill, Jr., Esq.        The TJX Companies, Inc. Demand for Rent                        Pending
Stores, Inc.                                                              (2) J&M Sales, Inc.;                          Ford & Paulekas, LLP            Lisa A. Schwartz, VP Legal -
                                                                          (3) FP Stores, Inc.;                          280 Trunbull Street             Real Estate    770
                                                                          (4) J&M Sales of Texas, LLC                   Hartford, CT 06103              Cochituate Rd
                                                                                                                        Tel: (860) 527-0400             Framingham, MA 01701
                                                                                                                                                        Tel: (508) 390-2695
White Oak Commercial Finance, LLC v.   Demand for Reclamation of Goods:   National Stores, Inc.                         William Coyle, VP               White Oak Commercial         Demand for Reclamation of Goods   Pending
National Stores, Inc.                  $834,602.15                                                                      White Oak Commercial            Finance, LLC
                                                                                                                        Finance, LLC
                                                                                                                        1155 Avenue of America, 15th
                                                                                                                        Floor
                                                                                                                        New York, NY 10036
                                                                                                                        Tel: (212) 887-7900
White v. National Stores, Inc.         LASC Case No.: BC693966;           National Stores, Inc. dba Fallas Paredes      Kaveh S. Elihu, Esq.           Phillip White             Civil                                 Pending
RPNA File No.: 10005.99.149            Employment discrimination;                                                       Sylvia V. Panosian, Esq.
                                                                                                                        Employee Justice Legal Group,
                                                                                                                        LLP
                                                                                                                        3055 Wilshire Blvd, Suite 1120
                                                                                                                        Los Angeles, CA 90010
                                                                                                                        Tel: (213) 382-2222
                                                                                                                        Fax: (213) 382-2230

Wright v. Fallas Paredes               DFEH Case No.: 201712-00461618;    Fallas Paredes dba Fallas Discount Stores     Department of Fair              Maria Ruiz Wright        DFEH Complaint                        Pending
RPNA File No.: 10005.99.153            Employment Discrimination                                                        Employment and Housing
                                                                                                                        Monica Facio
                                                                                                                        2218 Kausen Drive., Suite 100
                                                                                                                        Elk Grove, CA 95758
                                                                                                                        Tel: (916) 585-7008
                                                                                                                        Fax: (800) 700-2320




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